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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO



IN RE EVERYWARE GLOBAL INC.              Case No. 14-1838
SECURITIES LITIGATION

                                         AMENDED CLASS ACTION COMPLAINT
                                         FOR VIOLATIONS OF FEDERAL
                                         SECURITIES LAWS


                                         JURY TRIAL DEMANDED
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       Plaintiffs IBEW Local No. 58 Annuity Fund and Electrical Workers Pension Trust Fund

of IBEW Local No. 58, Detroit, Michigan (“Plaintiffs”), by and through the undersigned

attorneys, allege the following upon information and belief, except as to those allegations

concerning Plaintiffs, which are alleged upon personal knowledge. Plaintiffs’ information and

belief is based upon, among other things, counsel’s investigation, which includes, without

limitation: (1) a review and analysis of regulatory filings made by EveryWare Global, Inc.

(“EveryWare” or the “Company”) with the United States Securities and Exchange Commission

(“SEC”); (2) a review and analysis of press releases and media reports issued and disseminated

by EveryWare; (3) a review of other publicly available information concerning EveryWare; and

(4) the interview of confidential witnesses referenced herein.

                     SUMMARY OF THE ACTION AND OVERVIEW

       1.      This is a securities class action brought on behalf of all purchasers of EveryWare

securities between May 21, 2013, and May 16, 2014, inclusive (the “Class Period”) asserting

claims under Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange

Act”) and Sections 11, 12 and 15 of the Securities Act of 1933 (the “Securities Act”).

       2.      The securities violations complained of here are part of a complex scheme by

which private equity firm Monomoy Capital Partners and its affiliated funds (the “Monomoy

Group” or “Monomoy”) took EveryWare public through a merger with a publicly traded shell or

“blank check” company, stripped the combined Company of its capital, pumped up the

Company’s stock price by preparing and issuing baseless operating projections and false

financial reports, and then dumped its stock on an investing public, all while driving the

Company towards bankruptcy – where it now sits.



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        3.      EveryWare was created by the Monomoy Group by combining Oneida Ltd.

(“Oneida”) and Anchor Hocking LLC (“Anchor Hocking”), two leading houseware companies

which Monomoy had earlier purchased. In January 2013 EveryWare, then a private company,

entered into an agreement to merge with ROI Acquisition Corp. (“ROI”), a public company

whose only asset was $75 million in cash largely contributed by its public investors.

        4.      To gain approval of the merger and to refinance and increase EveryWare’s bank

debt to fund a $90 million cash payout to Monomoy, Monomoy caused EveryWare to prepare

baseless and grossly exaggerated projections of its 2013 revenues and earnings. Specifically,

beginning on January 31, 2013 and through the time of its secondary offering of EveryWare

shares in September 2013 (the “Secondary Offering”), EveryWare, in its presentations to

investors (and creditors), represented that it expected to earn $457 million in revenue for 2013

and adjusted EBITDA1 of $61.1 million. This projection was used by Monomoy to support a

$420 million estimate of value for EveryWare even though the refinancing and $90 million

payment to Monomoy had rendered the Company insolvent, both on a balance sheet basis and

because following the Merger Transaction, EveryWare had inadequate capital to support its

current business, and pay its debts in the regular course of business as they came due, much less

increase its sales and profits.

        5.      After the May 2013 refinancing and merger with ROI (the “Merger Transaction”)

was complete, Monomoy continued to own over 60% of the combined company’s shares and had

the right to additional amounts of “earn-out” shares if and when the Company’s stock price

surpassed price thresholds of $11, $12.50 and $15. Monomoy’s shares were subject to a “lock-

1
 EBITDA is a commonly reported measure of a company’s pre-tax earnings calculated on a cash
basis. EBITDA is an acronym that stands for “earnings before interest, taxes, depreciation and
amortization.” Plaintiffs use the term EBITDA and earnings interchangeably in this amended
complaint.
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up agreement” limiting Monomoy’s ability to immediately sell its shares – all of which giving

Monomoy an incentive to continue to misrepresent EveryWare’s financial condition and

prospects after the Merger Transaction.

       6.     EveryWare’s baseless 2013 earnings and revenue projections artificially inflated

the purported enterprise value of EveryWare for the Merger Transaction in May 2013, and then

supported Monomoy’s continued efforts to dump its remaining shares in the Company at inflated

prices. Almost immediately after EveryWare went public in May 2013, Monomoy began taking

steps to sell off its shares in EveryWare to the public in September 2013 in the Secondary

Offering of EveryWare stock, still contending that the Company was “on track” to make its

baseless 2013 projections.

       7.     Following the May 2013 Merger Transaction, in earnings calls with analysts,

press releases and investor conferences, EveryWare’s officers, including Defendants John

Sheppard (“Sheppard”) and Bernard Peters (“Peters”), continued to tout the Company’s

performance and high expectations for 2013, pointing to purported cost savings or “synergies”

from the earlier combination of Oneida and Anchor Hocking. EveyWare’s first quarter 2013

(“1Q2013”) and second quarter 2013 (“2Q2013”) reported results also purported to support

Defendants’ claims of a trend in improving margins and earnings.

       8.     The reality, however, was quite different.     Confidential witnesses (“CWs”),

former senior managers at EveryWare, explained that little had been done to merge the

operations or systems of Oneida and Anchor Hocking, and that EveryWare’s 2013 earnings and

revenue projections had “absolutely no factual or reasonable basis,” and had instead been

derived by simply overruling EveryWare’s senior managers who had the knowledge and

responsibility for formulating its sales budgets. As “CW1,” the person whose job it was to



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develop the 2013 projected sales figures, pointed out, the proof that these projections were

known to be fictitious was confirmed by the Company’s failure to place purchase orders to

EveryWare’s vendors to be able to fill the purportedly expected sales.

       9.      Furthermore, at no time during the Class Period was the Company “on track” to

meet its baseless 2013 earnings and revenue projections. To the contrary, the Company’s

existing profitable business in the food service segment was undercut by shifting from a reliable

domestic supplier to low cost and low quality suppliers. And the ability to grow the International

segment was thwarted by the Company’s capital depletion in the May 2013 Merger Transaction.

       10.     The supposed improvements in margins touted by the Company were

accomplished through accounting manipulations, particularly by failing to recognize factory

expenses as they were incurred and instead including them in the Company’s inventories, an

accounting gimmick that was later reversed by inventory write-offs in the fourth quarter of 2013

(“4Q2013”) – after Monomoy and other Defendants unloaded their stock in the Secondary

Offering in September 2013.      Moreover, as CW7 revealed, in August 2013, when Defendant

Sheppard represented that EveryWare remained “on track” to meet or exceed its grossly

exaggerated 2013 revenue and earnings projections, Sheppard and Peters knew that EveryWare

was actually “on track” to run out of money by the end of 2013 and was at serious risk of

defaulting on its debt obligations.

       11.     Plaintiffs bought shares traceable to the Secondary Offering based on the false

and misleading September 2013 Registration Statement signed by Defendants Sheppard, Collin,

Baldwin, Peters, Jurbala, Presser, Kasoff, McCray, Krueger, De Perio, and Wainshal, and also

purchased shares before and after the Secondary Offering. One of the documents incorporated in

the Registration Statement was an agreement between the selling shareholders and the Offering’s



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Underwriters in which false “representations” about EveryWare and its public filings were made

by the selling shareholders.   This published agreement also included a requirement for an

opinion letter on EveryWare’s condition to be provided by EveryWare’s general counsel, Kerri

Love.

        12.   At or about the time of the September 2013 Secondary Offering, however, Ms.

Love discovered “inaccurate financial disclosures” that implicated EveryWare’s Chief Financial

Officer (“CFO”), Defendant Peters, and members of EveryWare’s Board of Directors. Ms. Love

reported these irregularities to EveryWare management and demanded that the errors be

corrected or that she would report them to the SEC. As EveryWare itself later reported in its

SEC filings, on October 7, 2013, Ms. Love left the Company (only three weeks after the

Secondary Offering) and that the Company had settled Ms. Love’s claims for wrongful

termination. And when an information technology manager tasked with investigating Ms. Love

retrieved incriminating electronic files – which he was required to report to CFO Peters, the

subject of Ms. Love’s charges – the technology manager, too, was fired.

        13.   The true state of affairs at EveryWare began to emerge on October 30, 2013,

when EveryWare shocked the market with its announcement of disappointing third quarter 2013

(“3Q2013”) operating results and a revised and significantly lowered projection for 2013 annual

revenues and earnings. As a result of this sudden and unexpected shift occurring for a quarter

that had ended only two weeks after the Secondary Offering in which large amounts of insiders’

stock had been sold, including 1.7 million shares by Monomoy, analysts following EveryWare’s

stock pointed to “credibility” problems on the part of EveryWare, and its stock price plummeted

by 24%.




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          14.   On February 25, 2014, the Company unexpectedly announced that its CEO,

Defendant Sheppard, had left the Company. Analysts felt “blindsided” by this new and sudden

disclosure, describing it as further evidence of the Company’s failed execution and credibility

problems. On this news, shares of EveryWare declined another 28%. Shortly thereafter, on

March 5, 2014, the Company announced that it was postponing its release of 4Q2013 and full

year 2013 earnings results. On this news, the stock declined an additional 25%. Thus, in the

roughly six months after the September 2013 Secondary Offering where the Company’s stock

had traded at an inflated price of $11.50, EveryWare stock had dropped more than $7 to about $4

dollars a share, causing Plaintiffs and the class millions of dollars of losses.

          15.   On March 31, 2014, the Company issued its Form 10-K for 4Q2013 and fiscal

year ended December 31, 2013. Both the adjusted EBITDA and revenue for 2013 fell far short

of the 2013 projections. In reporting its 4Q2013 sharply lower earnings, the Company disclosed

that the disappointing fourth quarter earnings were largely attributable to $5.9 million in expense

recognized for what it described as a “change in estimate” for a factory “variance,” meaning that

the Company had delayed reporting factory expenses during earlier periods when they had been

incurred. After making this adjustment, EBITDA for 4Q2013 decreased 113% versus 4Q2012, a

stunning decline that further underscored the extent to which Sheppard, Peters and Monomoy

Defendants had succeeded in manipulating EveryWare’s accounting to their financial benefit.

          16.   On May 15, 2014, the Company announced that its financial condition had

become so weak that it could no longer satisfy the covenants in its bank loan agreements, and

that it might not be able to continue as a “going concern” unless its lenders waived EveryWare’s

violations. The Company also disclosed far worse performance than the market had been led to

expect.     With these further disclosures of EveryWare’s dismal financial condition and



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performance, the Company’s stock price dropped to $1.40, again causing Plaintiffs and the class

still more millions of dollars of losses.

        17.     After a year of negotiating with its lenders, on April 7, 2015 EveryWare filed its

Chapter 11 bankruptcy petition.

                                  JURISDICTION AND VENUE

        18.     The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act (15 U.S.C. §§78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17

C.F.R. §240.10b-5) and Sections 11, 12 and, 15 of the Securities Act (15 U.S.C. §§77k, 77l, and

77o. This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C.

§1331, Section 27 of the Exchange Act (15 U.S.C. §78aa), and Section 22 of the Securities Act

(15 U.S.C. §77v).

        19.     Venue is proper in this District pursuant to 28 U.S.C. §1391(b), Section 27(c) of

the Exchange Act (15 U.S.C. §78aa(c)), and Section 22(a) of the Securities Act (15 U.S.C.

§77v(a)). EveryWare maintains its executive offices in this District and many of the acts and

conduct in furtherance of the alleged fraud occurred in this District. In connection with the acts,

transactions, and conduct alleged herein, Defendants directly and indirectly used the means and

instrumentalities of interstate commerce, including the United States mail, interstate telephone

communications, and the facilities of a national securities exchange.

                         PARTIES AND NON-PARTY EVERYWARE

A.      PLAINTIFFS

       20.      Plaintiffs IBEW Local No. 58 Annuity Fund and Electrical Workers Pension

Trust Fund of IBEW Local No. 58, Detroit, Michigan (collectively, “IBEW”) purchased

EveryWare securities during the Class Period, and suffered damages as a result of the federal



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securities law violations and false and/or misleading statements and/or material omissions

alleged herein. IBEW’s trades in EveryWare securities are set forth in its certification filed

herewith. Certain of IBEW’s purchases were made on September 16, 2013 and are traceable to

EveryWare’s 2013 Secondary Offering, conducted on that date. Particularly, on the day of the

Secondary Offering, September 16, 2013, trading volume in EveryWare was 196,700 shares as

reported on Yahoo Finance.        On September 16, 2013, IBEW purchased 29,000 shares of

EveryWare stock, approximately 15% of the total trading on that day, from its broker, Morgan

Stanley, at the uniform price of $11.54, or four cents higher than the offering price. Typically, a

broker such as Morgan Stanley will purchase shares of a Company, such as EveryWare, from

multiple counterparties, including the Underwriter Defendants, to satisfy its customers’ purchase

orders. Given the amount of shares sold in the Secondary Offering (1,750,000 shares) in

comparison to the pre-existing public float (2,023,000 shares), the large number of shares

purchased by IBEW on the same day as the Secondary Offering and the fact that IBEW’s

purchase price was within pennies of the offering’s price, it is almost certain that at least some, if

not all, of IBEW’s shares purchased are the same as the shares offered by the Defendants in the

Secondary Offering. IBEW expects to develop evidence proving this inference in discovery

through third-party subpoenas to FINRA and the DTC, as well as through discovery from the

Underwriter Defendants.

B.     EVERYWARE, A DEBTOR IN BANKRUPTCY AGAINST WHICH THIS
       ACTION IS STAYED

       21.     EveryWare is a Delaware corporation with its principal executive offices situated

at 519 North Pierce Avenue, Lancaster, Ohio 43130. Until recently EveryWare common stock

traded on the NASDAQ stock exchange (“NASDAQ”) under the symbol “EVRY.” On April 8,

2015, EveryWare received a notice that it was being delisted from NASDAQ. On April 7, 2015,


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EveryWare filed for bankruptcy in the United States Bankruptcy Court for the District of

Delaware.    In light of EveryWare’s bankruptcy filing, and the automatic stay under the

Bankruptcy code, IBEW does not assert claims against EveryWare by this amended complaint.

C.     DEFENDANTS

       EveryWare’s Officer Defendants

       22.     Defendant John K. Sheppard (“Sheppard”) joined EveryWare in April 2012 and

was, until his resignation on February 24, 2014, the Company’s President and Chief Executive

Officer (“CEO”). During this period, Sheppard was also an EveryWare director.

       23.     Defendant Bernard Peters (“Peters”) was, at all relevant times, the Company’s

Executive Vice President and CFO. Defendant Peters joined EveryWare in January 2013.

       24.     Defendants Sheppard and Peters, because of their positions with and job

responsibilities at the Company, possessed the power and authority to control the contents of

EveryWare’s reports filed with the SEC, press releases, and presentations to securities analysts,

money and portfolio managers and institutional investors, i.e., the market. Defendants Sheppard

and Peters themselves signed the false and misleading Registration Statement for the Secondary

Offering and made specific false and misleading statements and material omissions as further

described below. These officers also reviewed, approved and/or controlled the Company’s

reports and press releases alleged herein to be false or misleading prior to, or shortly after, their

issuance and had the ability and opportunity to prevent their issuance or cause them to be

corrected. Because of their positions and access to material non-public information available to

them, Sheppard and Peters knew or recklessly disregarded that the adverse facts specified herein

had not been disclosed to, and were being concealed from, the public, and that the positive

representations which were being made were then materially false and/or misleading.



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       The Monomoy Private Equity Defendants

       25.     Defendant Daniel Collin (“Collin”) was EveryWare’s Chairman of the Board

during the Class Period. Prior to that time, he was a director of Anchor Hocking Company from

2007 and Oneida, Ltd. from 2011. For all relevant times, Collin was also an equity partner in

Monomoy Capital Partners, LLC (“Monomoy”), a private equity firm based in New York City

that was EveryWare’s majority shareholder. Collin co-founded Monomoy in 2005, and has been

Co-CEO of Monomoy since 2014. Collin signed the false and misleading Registration Statement

accompanying the Secondary Offering.          In his capacities as Chairman of the Board of

EveryWare and as a principal of Monomoy, Collin controlled EveryWare, and other Defendants

making the false and misleading statements alleged herein and, as a result, had control over the

false and misleading statements and material omissions alleged in this action. As stated in

EveryWare’s Proxy dated April 11, 2014, Collin had “significant involvement” with EveryWare

and its predecessors between 2007 and 2014, and culpably participated in and exercised actual

control over the false and misleading statements alleged herein. For example, as discussed by

Confidential Witness Number 1 (“CW1”) below, in 2012 and 2013, Collin met with senior

EveryWare managers in charge of sales to discuss the Company’s operations. At least one of

these managers, CW1, had direct knowledge that the 2013 revenue and profit estimates at issue

in this case were unrealistic, lacking any reasonable basis and in conflict with facts that were not

disclosed to the public at the time the estimates were disseminated. Beginning at or about the

time that EveryWare went public, Collin engaged in efforts to permit Monomoy and himself

personally to profit from the false and misleading statements that had inflated EveryWare’s stock

price. For example, on June 17, 2013, Collin caused EveryWare to file paperwork with the SEC

that would have permitted the sale of 15 million shares in EveryWare, Monomoy’s entire



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majority ownership interest in the Company, although the terms of the Lock-up Agreement

applicable to this sale had yet to be satisfied. Ultimately, EveryWare’s Audit Committee waived

the Lock-up Agreement’s sale prohibitions, and Monomoy sold 1.7 million shares of EveryWare

stock for $11.50 a share for a total of $19.55 million at the September 16, 2013 Secondary

Offering.

       26.     Defendant Stephen Presser (“Presser”) was a Director on the EveryWare Board of

Directors during the Class Period, and exercised management over EveryWare operations on an

informal basis. For all relevant times, Presser was also an equity partner in Monomoy Partners.

Defendant Presser co-founded Monomoy in 2005. Defendant Presser signed the false and

misleading Registration Statement accompanying the Secondary Offering. In his capacities as a

Director of EveryWare and partner at Monomoy, and through his informal assumption of day-to-

day management over aspects of EveryWare’s operations, Defendant Presser controlled

EveryWare and other Defendants making the false and misleading statements alleged herein and,

as a result, had control over the misstatements and omissions alleged in this action. As stated in

EveryWare’s April 11, 2014 Proxy, Presser had “significant involvement” with EveryWare and

its predecessors between 2007 and 2014, and Presser culpably participated in and exercised

actual control over the false and misleading statements alleged herein. For example, according

to Confidential Witness Number 2 (“CW2”), a national sales manager at Anchor Hocking and

then EveryWare between January 2013 and September 2014, Presser worked out of EveryWare’s

headquarters in Lancaster, Ohio approximately three to four days a week. CW2 has personal

knowledge of this fact because he observed Presser on his monthly visits to EveryWare’s

headquarters. Presser also was directly involved in approving specific pricing and other details

of CW2’s sales deals. Presser exercised this control in conference calls with EveryWare sales



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staff, where Presser discussed the terms of particular customer deals. CW2 stated that it was

“absolutely clear” that Monomoy and Presser were involved in every aspect of EveryWare’s

business at a daily level. Beginning at or about the time that EveryWare went public, Presser

engaged in efforts to permit Monomoy and himself personally to profit from the false and

misleading statements that had inflated EveryWare’s stock price. For example, on June 17,

2013, Presser, along with Collin, caused the Company to file paperwork with the SEC that would

have permitted the sale of 15 million shares in EveryWare, Monomoy’s entire majority

ownership interest in the Company, although the terms of the Lock-up Agreement applicable to

this sale had yet to be satisfied. Ultimately, EveryWare’s Audit Committee waived the Lock-up

Agreement’s prohibitions and Monomoy sold 1.7 million shares of EveryWare stock for $11.50

a share for a total of $19.55 million at the September 16, 2013 Secondary Offering.

       27.    Defendant Monomoy Capital Partners, L.P. is the lead Monomoy entity.

According to the Schedule 13D filed with the SEC on May 31, 2013, following the May 21,

2013 merger, this Monomoy entity owned 42.0% of EveryWare.2

       28.    Defendant MCP Supplemental Fund, L.P. is another Monomoy entity. According

to the Schedule 13D filed with the SEC on May 31, 2013, following the May 21, 2013 merger,

this Monomoy entity owned 1.3% of EveryWare.

       29.    Defendant Monomoy Executive Co-Investment Fund, L.P. is another Monomoy

entity. According to the Schedule 13D filed with the SEC on May 31, 2013, following the May

21, 2013 merger, this Monomoy entity owned 0.2% of EveryWare.




2
 The ownership percentages listed for the various Monomoy entities add up to more than 100%
because they refer to overlapping ownership interests. In total, the Monomoy entities owned
approximately 68% of EveryWare’s stock prior to the Secondary Offering. After the Secondary
Offering, the Monomoy entities owned 60% of EveyWare’s stock.
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       30.    Defendant Monomoy Capital Partners II, L.P. is another Monomoy entity.

According to the Schedule 13D filed with the SEC on May 31, 2013, following the May 21,

2013 merger, this Monomoy entity owned 23.8% of EveryWare.

       31.    Defendant MCP Supplemental Fund II, L.P. is another Monomoy entity.

According to the Schedule 13D filed with the SEC on May 31, 2013, following the May 21,

2013 merger, this Monomoy entity owned 0.8% of EveryWare.

       32.    Defendant Monomoy General Partner, L.P. is another Monomoy entity.

According to the Schedule 13D filed with the SEC on May 31, 2013, following the May 21,

2013 merger, this Monomoy entity owned 43.5% of EveryWare.

       33.    Defendant Monomoy General Partner II, L.P. is another Monomoy entity.

According to the Schedule 13D filed with the SEC on May 31, 2013, following the May 21,

2013 merger, this Monomoy entity owned 24.6% of EveryWare.

       34.    Defendant Monomoy Ultimate GP, LLC is another Monomoy entity. According

to the Schedule 13D filed with the SEC on May 31, 2013, following the May 21, 2013 merger,

this Monomoy entity owned 68.1% of EveryWare.

       35.    The various Monomoy funds listed in ¶¶27-34 are all partners in Monomoy

Capital Partners, L.P., collectively referred to herein as “Monomoy,” who along with Collin and

Presser are referred to as the “Monomoy Defendants.” Monomoy is a private equity firm based

in New York City.    Collectively, Monomoy owned approximately 68% of EveryWare’s stock

after the merger and until the Secondary Offering. After the Secondary Offering, Monomoy

owned approximately 60% of EveryWare. Monomoy controlled EveryWare, as well as the other

Defendants making the false and misleading statements alleged herein, and as a result, had

control over the misrepresentations and omissions alleged in this action.      As part of the



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transaction by which ROI merged with EveryWare (then a private company), Monomoy received

a $90 million cash distribution, and depleted the combined entity’s capital to the point of

rendering it insolvent. Monomoy secured the vote of ROI public shareholders for the approval

of the merger and the additional financing for the $90 million payment, by misrepresenting

EveryWare to be solvent and through the use of the grossly exaggerated and factually baseless

projections of EveryWare’s 2013 revenue and earnings. The Merger Transaction also contained

a provision for “earn-out” shares whose award was dependent on the growth of EveryWare’s

stock price, so that Monomoy was incentivized to continue to inflate EveryWare’s stock price

through false and misleading statements.

       The Underwriter Defendants

       36.     The following Underwriter Defendants participated in EveryWare’s September

2013 Secondary Offering, to the following extent:

                          Name                 Number of Shares Underwritten

             Oppenheimer & Co., Inc.                     1,426,250

             CJS Securities, Inc.                            96,250

             Telsey Advisory Group, LLC                      96,250

             Imperial Capital, LLC                           70,000

             BTIG, LLC                                       61,250


       37.     Defendant Oppenheimer & Co., Inc. (“Oppenheimer”) was an underwriter of

EveryWare’s Secondary Offering, and served as a financial advisor for and assisted in the

preparation and dissemination of the Company’s false and misleading Registration Statement

and Prospectus. Oppenheimer acted as sole book-running manager in the Secondary Offering.



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Oppenheimer also participated in conducting and promoting the roadshow for the Secondary

Offering, and in paying the expenses of the other Defendants who participated in the roadshow.

       38.    Defendant CJS Securities, Inc. (“CJS”) was an underwriter of EveryWare’s

Secondary Offering, and served as a financial advisor for and assisted in the preparation and

dissemination of EveryWare’s false and misleading Registration Statement and Prospectus. CJS

acted as co-manager in the Secondary Offering.        CJS also participated in conducting and

promoting the roadshow for the Secondary Offering, and in paying the expenses of the

Defendants who participated in the roadshow.

       39.    Defendant Telsey Advisory Group, LLC (“Telsey”) was an underwriter of

EveryWare’s Secondary Offering, and served as a financial advisor for and assisted in the

preparation and dissemination of EveryWare’s false and misleading Registration Statement and

Prospectus. Telsey acted as co-manager in the Secondary Offering. Telsey also participated in

conducting and promoting the roadshow for the Secondary Offering, and in paying the expenses

of the Defendants who participated in the roadshow.

       40.    Defendant Imperial Capital, LLC (“Imperial”) was an underwriter of

EveryWare’s Secondary Offering, and served as a financial advisor for and assisted in the

preparation and dissemination of EveryWare’s false and misleading Registration Statement and

Prospectus. Imperial acted as co-manager in the Secondary Offering. Imperial also participated

in conducting and promoting the roadshow for the Secondary Offering, and in paying the

expenses of the Defendants who participated in the roadshow.

       41.    Defendant BTIG, LLC (“BTIG”) was an underwriter of EveryWare’s Secondary

Offering, and served as a financial advisor for and assisted in the preparation and dissemination

of EveryWare’s false and misleading Registration Statement and Prospectus. BTIG acted as co-



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manager in the Secondary Offering. BTIG also participated in conducting and promoting the

roadshow for the Secondary Offering, and in paying the expenses of the Defendants who

participated in the roadshow.

       42.    Defendants Oppenheimer, CJS, Telsey, Imperial, and BTIG are collectively

referred to herein as the “Underwriter Defendants.”

       43.    In addition to having access to internal corporate documents, the Underwriter

Defendants and/or their agents, including their counsel, had access to EveryWare’s lawyers,

management, directors, and top executives to determine: (i) the strategy to best accomplish the

Secondary Offering; (ii) the terms of the Secondary Offering, including the price at which

EveryWare’s common stock would be sold; (iii) the language to be used in the Registration

Statement; (iv) what disclosures about the Company would be made in the Registration

Statement; and (v) what responses would be made to the SEC in connection with its review of

the Registration Statement. The Underwriter Defendants caused the Registration Statement to be

filed with the SEC and to be declared effective in connection with offers and sales of

EveryWare’s shares pursuant and/or traceable to the Secondary Offering.

       44.    As a result of their role as underwriters, the Underwriter Defendants are liable to

investors in the Secondary Offering and to those who purchased shares traceable to the Offering,

including Plaintiffs, for false and misleading statements and misleading omissions in the

Registration Statement, which included and incorporated EveryWare’s prospectus. As against

the Underwriter Defendants, Plaintiffs assert only claims of negligence and strict liability and

make no allegation of reckless or knowing misconduct on their part.




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       Other Individual Defendants Who Are Liable for Signing the False and Misleading
       Registration Statement for the Secondary Offering

       45.    The following additional individuals, identified in ¶¶46-52, infra, also signed the

false and misleading Registration Statement for the Secondary Offering conducted in September

2013 (the “Additional Section 11 Defendants”).

       46.    Prior to the May 2013 merger, Defendant Thomas J. Baldwin was a principal in

ROI. After the Merger Transaction and at the time of the Secondary Offering, Baldwin was the

Vice Chairman of the Board of Directors of EveryWare and signed the Registration Statement

for the Secondary Offering.

       47.    Defendant Michael Jurbala was the Vice President of Finance and Corporate

Controller and Principal Accounting Officer for EveryWare and signed the Registration

Statement for the Secondary Offering.

       48.    Defendant Barry L. Kasoff was a Director of EveryWare and signed the

Registration Statement for the Secondary Offering.

       49.    Defendant Ronald McCray was a Director of EveryWare and signed the

Registration Statement for the Secondary Offering.

       50.    Defendant William Krueger was a Director of EveryWare and signed the

Registration Statement for the Secondary Offering.

       51.    Defendant Joseph A. De Perio was a Director of EveryWare and signed the

Registration Statement for the Secondary Offering.

       52.    Defendant Ron Wainshal was a Director of EveryWare and signed the

Registration Statement for the Secondary Offering.

       53.    As a result of signing the Registration Statement, which included and

incorporated EveryWare’s prospectus, containing false and misleading statements and material


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misleading omissions, the Additional Section 11 Defendants are liable to investors in the

Secondary Offering, and to those who purchased shares traceable to the Offering, including

Plaintiffs. As against these Additional Section 11 Defendants, Plaintiffs assert only claims of

negligence and strict liability and make no allegations of reckless or knowing misconduct on

their part.

                              SUBSTANTIVE ALLEGATIONS

I.      THE FRAUDULENT “PUMP AND DUMP” SCHEME

        54.   This case describes a scheme in which the Monomoy Defendants refinanced,

merged and took their privately owned and thinly capitalized company public, while stripping it

of the cash necessary for it to operate. Monomoy accomplished this by developing a wholly

baseless set of 2013 operating projections – revenues of $457 million and earnings of $61.1

million – which it continued to tout and reaffirm until the weeks following the Secondary

Offering, while EveryWare’s operations sharply deteriorated as a result of the Company’s

inadequate capital and its inability or unwillingness to pay its suppliers.        To convince

EveryWare’s creditors, ROI, and the merged company’s public shareholders to fund this scheme,

the Monomoy Defendants, Sheppard and Peters made a number of material false and misleading

statements and misleading omissions. Among other things, these Defendants (1) created and

used exaggerated revenue and earnings projections for 2013, that they were told were unrealistic,

to support an inflated valuation of $420 million for EveryWare and conceal that the Merger

Transaction, and particularly the $90 million cash payment to Monomoy, had rendered the

Company insolvent and unable to pay its suppliers and retain, much less grow, its businesses; (2)

following the Merger Transaction, fraudulently represented that EveryWare’s operations were

performing in line with the previously provided 2013 projections, as its business deteriorated to



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the point where, by July 2013, the Company was unable to pay its vendors and was on track to

run out of money by the end of the year; (3) engaged in accounting manipulations that misstated

EveryWare’s inventories, underreported its cost of sales and inflated its operating margins,

which misled the market about its earnings trends by concealing and deferring the recognition of

$5.9 million in factory overhead expenses (until after the Secondary Offering in which the

Monomoy Defendants sold millions of dollars of their stock); and (4) sold products for less than

their cost of production in order to sustain the illusion that EveryWare remained healthy and

continued to grow its revenues.

       55.     The Monomoy Defendants attempted to and did profit from their scheme in four

separate ways. First, in connection with the original transaction by which EveryWare was taken

public on May 21, 2013, the Monomoy Defendants used the baselessly optimistic projections for

EveryWare’s 2013 earnings and revenues to justify assigning an artificially high initial value to

EveryWare of $420 million. This high initial value allowed the Monomoy Defendants to extract

a payment of $90 million as part of the Merger Transaction. Second, under the terms of the

merger agreement, Monomoy would be entitled to 3.5 million additional shares of EveryWare if

the stock price of EveryWare reached certain target share prices in the months after the merger.

Third, if the stock price of EveryWare reached a price of $12.50 for a certain amount of time, the

six-month period of the Lock-up Agreement barring Monomoy’s stock sales would expire early

and allow the Monomoy Defendants to sell their shares (though here EveryWare’s Audit

Committee waived the lock-up restrictions over Monomoy’s shares to permit it to sell 1.7

million shares in the Secondary Offering even though EveryWare’s price did not remain about

$12.50 for the requisite amount of time). Fourth, by artificially inflating the price of EveryWare




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stock, the Monomoy Defendants increased their profits from their sales of EveryWare stock,

including in the Secondary Offering.

       A.      Monomoy Acquires Two Manufacturing Companies That Will Become Part
               of EveryWare

       56.     EveryWare produces, markets, and distributes kitchenware for baking, serving,

using, storing, and displaying food and related products. The Company operates in four business

segments: consumer, foodservice, specialty, and international.        It has operations in North

America, Europe, and Asia, under two principal operating subsidiaries: Oneida and Anchor

Hocking.

       57.     Anchor Hocking and Oneida were acquired by private equity firm Monomoy in

2007 and 2011 respectively, and integrated into EveryWare in March 2012.

       58.     EveryWare and its subsidiaries are mature businesses within an established

industry. Oneida and Anchor Hocking were founded in 1848 and 1905, respectively.

       B.      EveryWare Merges with ROI and Becomes a Public Company

       59.     On May 21, 2013, EveryWare merged with ROI.               In its SEC reports, ROI

described itself as “a newly organized blank check company incorporated as a Delaware

corporation and formed for the purpose of, directly or indirectly, effecting a merger, capital stock

exchange, asset acquisition, stock purchase, reorganization, or engaging in any other similar

Business Combination with one or more businesses or assets . . . .” As defined by the SEC, a

blank check company “is a development stage company that has no specific business plan or

purpose or has indicated its business plan is to engage in a merger or acquisition with an

unidentified company or companies, other entity, or person.”

       60.     On May 9, 2013, ROI filed a Form S-4 Registration Statement with the SEC in

which it indicated its intent to enter into a “Business Combination” and plan of merger providing


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for ROI’s acquisition of EveryWare.        On May 21, 2013, ROI announced that it received

stockholder approval for its planned acquisition of EveryWare Global, Inc. and the merger was

completed.

       61.     Following the completion of the merger, the Monomoy Defendants, collectively,

continued to own more than 60% of EveryWare’s outstanding common stock. These holdings

made the Monomoy Defendants the controlling shareholders of EveryWare and allowed the

Monomoy Defendants to control EveryWare and its officers. As EveryWare has stated in its

SEC reports, due to their large holdings in EveryWare, [the Monomoy Defendants] “have the

ability to determine the outcome of corporate actions of the Company requiring stockholder

approval.”

       C.      The Monomoy Defendants Strip EveryWare of Its Capital, Resulting in an
               Insolvent Company Destined for Failure

       62.     In their efforts to squeeze as much money as possible out of EveryWare, private

equity firm Monomoy and its principals Collin and Presser created a merged public company

that was destined for failure with a pressing need to mislead investors to cover that fact, first so

that Monomoy could obtain the financing and ROI investor approval of the merger (and the $90

million cash payment to Monomoy), and then to pump up EveryWare’s shares long enough for

the Lock-up Agreement to expire and permit Monomoy to dump its shares in a Secondary

Offering.

       63.     Under the terms of the merger with ROI, the Monomoy Defendants stripped out

EveryWare’s capital through a $90 million payment to them that essentially left the Company

insolvent. This is reflected in EveryWare’s unaudited pro forma balance sheet as of March 31,

2013, attached as Exhibit 99.2 to a Form 8-K Everyware filed with the SEC on May 28, 2013.

Prior to the merger with ROI, EveryWare had assets of $320 million and liabilities of $310


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million, leaving stockholder equity of $10 million.      After the merger and the $90 million

payment to the Monomoy Defendants, the combined Company had assets of only $323 million

and liabilities of $382 million, meaning stockholder equity was negative $59 million, and that

the Merger Transaction had rendered EveryWare insolvent on a balance sheet basis. As further

described below, the Merger Transaction, and particularly the $90 million cash depletion paid to

Monomoy, also rendered the Company insolvent in the sense that, as a result of the transaction,

Monomoy no longer had the ability to pay its debts as they came due in the ordinary course of

business.    Nonetheless, Defendants falsely represented both to EveryWare’s banks and to

investors that EveryWare had an enterprise value of $420 million – by using the 2013 baseless

earnings projections.

       D.      The Monomoy Defendants Need to Mislead Investors to Inflate EveryWare’s
               Share Price So that They Can Dump the Stock

       64.     Even after taking out all of EveryWare’s capital, causing the Company to become

deeply insolvent and threatening the livelihood of thousands of EveryWare employees, the

Monomoy Defendants had additional plans for extracting wealth from EveryWare. Specifically,

the Monomoy Defendants retained over 15 million shares of EveryWare which they needed to

sell before investors realized that the Company was essentially worthless.

       65.     The Monomoy Defendants began working on this aspect of their scheme almost

immediately after EveryWare went public in May 2013.           As early as June 17, 2013, the

Monomoy Defendants developed and caused to be filed the initial Registration Statement in

preparation for a Secondary Offering in which the Monomoy Defendants would sell their entire

position in EveryWare in September 2013. Although Monomoy’s stock was subject to a Lock-up

Agreement barring sales for six months, the term could be reduced if EveryWare’s stock traded

for $12.50 or higher (or if the Company’s Audit Committee waived the lock-up restrictions,

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which is what ultimately occurred). Monomoy also had received “earn-out” shares which would

vest when EveryWare’s stock reached certain price thresholds. Thus, to escape the Lock-up

Agreement’s restrictions, obtain ownership of the earn-out shares and obtain a windfall on the

sales of their stock, the Monomoy Defendants needed to (and did) mislead investors over the

months following the Merger Transaction.

         66.      Specifically, the merger agreement provided that the Monomoy Defendants’

shares were subject to a Lock-up Agreement that generally barred them from selling their shares

until November 18, 2013. However, the lock-up term could expire earlier if EveryWare’s share

price exceeded $12.50 for 20 trading days within a 30-trading-day period after the merger. Thus,

if the Monomoy Defendants could pump up EveryWare stock above $12.50, they could sell

early.

         67.      Further, in order to maximize the number of shares they received in the Merger

Transaction, the Monomoy Defendants again needed to inflate the value of EveryWare stock.

The merger agreement provided the Monomoy Defendants with 3.5 million “earn-out” shares

that would be lost if EveryWare’s share price did not achieve certain levels in the years after the

merger. If EveryWare’s share price did not hit $11 for at least 20 trading days in a 30-trading-

day period, the Monomoy Defendants would lose 1 million shares. If EveryWare’s share price

did not hit $12.50 for at least 20 trading days in a 30-trading-day period, the Monomoy

Defendants would lose 1.25 million shares. And if EveryWare’s share price did not hit $15 for

at least 20 trading days in a 30-trading-day period, the Monomoy Defendants would lose 1.25

million shares.




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       68.     Finally, every dollar increase in EveryWare’s share price translated into $15

million in additional proceeds on the 15 million shares that the Monomoy Defendants had

planned to sell.

       69.     The Monomoy Defendants were therefore highly incentivized to inflate the price

of EveryWare common stock in the months following the merger. They succeeded, in part, by

driving up EveryWare’s stock price to $11.50 using a false and misleading Registration

Statement and obtaining the Audit Committee’s consent to waive the Lock-up Agreement

restrictions over 1.7 million shares in the Secondary Offering.

       E.      Monomoy, Sheppard and Peters Make Baseless Representations Concerning
               EveryWare’s 2013 Earnings and Revenue

       70.     Beginning in January 2013, the Monomoy Defendants, Sheppard, and Peters

concocted grossly exaggerated 2013 revenue and earnings estimates for EveryWare that

portrayed the Company as being in the midst of a massive growth spurt. Initially, these estimates

– which confidential witnesses have since revealed to be wholly without any basis and contrary

to the level of vendor purchases necessary to accomplish the supposedly expected sales – served

to justify EveryWare’s merger with ROI, along with its attendant $90 million payment to the

Monomoy Defendants.        Later in 2013, these estimates, along with representations that

EveryWare was “on track” to meet those estimates, served to buoy EveryWare’s stock price and

thereby facilitated the Monomoy Defendants’ planned sale of their EveryWare shares.

       71.     Thus, on January 31, 2013, EveryWare publicly issued projections for 2013

annual adjusted EBITDA of $61.1 million, and 2013 annual revenue of $457 million. These

figures, which represented significant growth in profits and revenue from prior years, were then

used to justify assigning an “Enterprise Value” to EveryWare of approximately $420 million.

The purported $420 million in value was initially used both to increase EveryWare’s bank debt

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and also to persuade ROI’s public investors to vote to approve the merger, and to not demand

that the combined Company redeem their stock, as they were entitled to do.

       72.     In other words, the Monomoy Defendants used their $420 million valuation,

which had been accomplished through the inflated 2013 revenue and earnings projections, to lull

ROI’s shareholders (and EveryWare’s banks) into agreeing to finance the $90 million payment

to Monomoy for the sale of a minority interest in the combined Company. While many ROI

public investors voted against the merger or redeemed their shares (essentially had their original

investment of $10 per share returned), ROI’s managers bought up enough ROI shares to push the

merger through. 3

       73.     Throughout the spring and summer of 2013, Defendant Sheppard continued to

represent that EveryWare’s business operations and results were “on track” to achieve

EveryWare’s 2013 baseless projections, even as the Company’s operations deteriorated as a

result of its lack of capital to the point where, by July 2013, it was obvious within the Company

that EveryWare would run out of money by the end of 2013.

       74.     Confidential Witness 1 (“CW1”) was the person who was responsible for

preparing the key 2013 sales numbers in the first instance. He explained that his numbers,

prepared from the Company’s historical experience and attainable growth, were rejected without

any factual support and that the $457 million 2013 revenue estimate and $61.1 million 2013



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 Though not at issue in this case, there are several reasons why ROI’s public shareholders may
have been particularly vulnerable to the Monomoy Defendants’ misrepresentations. One, the
ROI Board of Directors did not obtain a third-party valuation or fairness opinion with respect to
the deal, and admitted that there were “conflicts of interest” that may have colored their view of
the transaction. If the deal went through, the sponsor of ROI, the ROIC Acquisition Holdings
LP, would receive a sizable stake in the new company, whereas if ROI failed to find a company
to merge with after a certain amount of time had elapsed (i.e., by November 2013), the public
money invested in ROI had to be returned to the public investors and the ROIC Acquisition
Holdings LP would receive nothing.
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earnings estimate were wholly unrealistic, inconsistent with the Company’s vendor purchases

and arrived at by fiat. At the time Monomoy acquired Oneida in 2011, CW1 was Senior Vice

President of Sales for Oneida. He remained in this position with EveryWare until he decided to

leave the Company in June 2013.          In his position, CW1 was personally involved with

EveryWare’s formulation of its revenue projections and was one of the individuals responsible

for working on the 2013 estimates at issue in this case.

       75.     CW1 explained that he began working on EveryWare’s 2013 estimates between

October and December 2012. At that time, prior to Defendant Peters becoming CFO in January

2013, Andrew Church was EveryWare’s CFO.              Mr. Church’s process for formulating the

estimates for the coming year involved gathering inputs from the relevant segments of the

Company and presenting a proposed budget to Defendant Sheppard, who ultimately determined

the final budget and publicly reported estimates.

       76.     CW1 and his co-worker, with whom he worked closely, were asked to provide

sales estimates that became part of the 2013 revenue and earnings estimates.        CW1 was

responsible for providing estimates for one of the largest segments of the Company in terms of

its earnings and revenue. To complete this task, CW1 provided an estimate based on the

Company’s past performance, particularly 2011, and trends from the previous two years. CW1

and his co-worker discussed their estimates with Church, and all three individuals agreed that

CW1’s estimates were reasonable and should be presented to Sheppard.

       77.     Thereafter, Church related to CW1 that CW1’s 2013 estimates had been rejected

and that Sheppard required a “higher top end,” meaning a higher sales revenue projection. CW1

responded to these demands by stating that he did not think a higher number was supportable in

light of EveryWare’s current operations. Sheppard then overruled CW1 and forced the Company



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to adopt “estimates” that were “substantially higher” than the estimates that CW1 had provided

and which, according to CW1, were “completely unrealistic” and had “absolutely no factual or

reasonable basis.”

       78.    CW1’s concern regarding the 2013 earnings and revenue estimates was further

buttressed by his conversation with his co-worker, who was the other individual responsible for

developing EveryWare’s forecast.     In discussing the baseless estimates that Sheppard had

mandated, CW1’s co-worker stated, “I can’t believe this number they want, we’re never going to

hit it,” and agreed with CW1 that the 2013 estimates were in “fantasyland.” CW1’s co-worker

nevertheless advised that they should accept Sheppard’s mandate because the alternative was

being fired. Disgusted by this deception, CW1 voluntarily left the Company in June 2013.

       79.    CW1 further explained how the projections selected by Sheppard were known to

be unrealistic and disbelieved. At approximately the same time that Sheppard was overruling his

forecasts, late 2012 and early 2013, CW1 was informed by Bill Grannis, EveryWare’s senior

vice president for sourcing, that EveryWare management had instructed him to cut inventories in

2013. Because the Company had to make purchases from vendors and increase inventories

before it could deliver its products and recognize sales revenue, the decision by EveryWare

management to cut back on inventories signified that EveryWare management did not

subjectively believe their own 2013 revenue forecast. A robust increase in revenue in the

quarters following the merger would require higher, not lower inventories. CW1 recalls that, in

discussing the matter, Mr. Grannis commented, “I don’t know how you can hit your (sales)

number by what they’re doing to my inventory.”

       80.    CW1 further stated that between 2012 and 2013, he twice met with Dan Collin to

discuss EveryWare’s sales. He recalled Collin asking what CW1 needed to increase sales. CW1



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responded that to grow revenues he needed “good marketing support” like catalogues, trade

shows, inventory design and other “fundamentals.” Collin, however, responded, “no no no, what

do you really need?” Based on this conversation, CW1 concluded that Collin was not really

interested in improvements to operations to grow EveryWare revenues.

       81.     CW1 also observed that, contrary to Sheppard’s representations, EveryWare was

not achieving major synergies from the mergers of Oneida, Anchor Hocking and ROI. To the

contrary, CW1 observed that neither Sheppard nor Monomoy ever developed a plan to integrate

the various businesses incorporated into EveryWare. CW1 observed that key business functions

at Oneida and Anchor Hocking were not integrated. For example, Anchor Hocking was on an

Oracle system and Oneida was on SAP, so sales numbers from one were “translated” in pieces

for the other, which was time consuming and produced incomplete information that was outdated

by the time it was assembled. CW1 stated that he (and other sales managers) “could not get a

basic sales report” when needed, and he complained to Church, saying, “I have no idea how my

business is going to perform and no idea how to manage it” without basic reports. Warehouses

were still separate and integration had not begun; IT from the two companies was not integrated

and lacked an integration plan.

       82.     CW1’s observation that the projections Sheppard declared regarding 2013

earnings and revenue could not be reconciled with the decision by Company management to cut

back on inventory is supported by the observations of CW3, CW4, CW5, CW6 and CW7.

       83.     CW3, CW4, CW5, CW6 and CW7 each witnessed a serious cut back in

EveryWare’s inventory and a deterioration in EveryWare’s operations that was in direct conflict

with the 2013 revenue and earnings estimates, as well as Sheppard’s pronouncements through




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the September 2013 Secondary Offering that EveryWare was healthy and on track to meet its

aggressive 2013 growth estimates.

          84.   CW3 was a sales manager at EveryWare from 2011 to October 2013. CW3’s

career began at Oneida, where CW3 had responsibility for a portion of the southern United

States. CW3 agreed with CW2’s observation that changes in inventory directly correlate to

changes in sales. According to CW3, because EveryWare operated in an industry with low

margins, the Company’s inventory of goods purchased from vendors approximated the level of

its sales orders.

          85.   CW3 observed that, between May 2013 and October 2013, EveryWare had cut

back on its vendor purchases to the point where her work was frustrated by frequent inventory

shortages. CW3 observed that, in May 2013, EveryWare cut back on the bonuses it paid her

staff and also radically reduced her staff from 8 to 2.   CW3 explained that Monomoy tried to

“squeez[e] every nickel” out of the Company and was not making any investment in the

Company’s future success.

          86.   CW3 stated that there were constant inventory shortages in 2013 and that the

shortages had become a subject of conversation among sales staff.            At the same time,

EveryWare was seeing sales declines for its national accounts and was at risk of losing Marriott,

one of its main customers.

          87.   CW3 was notified of inventory shortages by email. CW3 recalls that months after

a sales order had been placed, she would receive emails indicating that the order had not been

filled.

          88.   CW4 was a district sales manager at Oneida from August 2011 to August 2012

and then a national accounts manager at EveryWare until June 2014. CW4 observed inventory



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shortages in her area during the summer of 2013. CW4 understood that these shortages were

driven, in part, by Sheppard’s replacement of reliable suppliers based in the United States with

cheaper products manufactured in China.

       89.     CW4 explained that EveryWare’s inventory problems were harming EveryWare’s

relationships with its major customers, including, e.g., two of CW4’s accounts, Ruby Tuesday’s

and Chili’s. Both expressed frustrations to CW4 regarding the quality of EveryWare’s products

and the delays that they had experienced in waiting for EveryWare to fill orders.

      90.      CW4 further witnessed that immediately after EveryWare went public, there were

layoffs of key Oneida personnel, and it was “obvious” to her and the sales people she worked

with that the reduction of sales head count reflected a changed approach towards Oneida’s

future. In addition, CW4 observed that EveryWare did not replace sales personnel as they left.

       91.     CW5 was an inventory control manager at EveryWare. In 1991, CW5 joined a

company that was acquired by EveryWare. CW5 left EveryWare in August 2014. During his

time at EveryWare, CW5 was based in the U.K. and reported to the supply chain director for the

U.K. The witness’s area of responsibility was to work with vendors and procure the particular

inventory required for customer sales.

       92.     CW5 stated that, between June 2013 and September 2013, vendors he worked

with informed him that EveryWare had started slowing payments to them, and that this became a

topic of regular conversation in the second half of 2013.

       93.     CW5’s manager informed him EveryWare was experiencing cash shortages and

that the Company’s international segment would have to manage inventory with less available

capital. The witness stated that the perception in the U.K. office was that the EveryWare

corporate management was starving the international segment of cash.



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       94.      According to CW5, many shipments of product were “stuck on the docks”

because the terms of agreements with vendors called for payments to be made once shipments

were delivered to the docks, where EveryWare would take possession after making payment.

However, EveryWare did not have the funds and as a result the product simply accumulated at

the docks.      CW5 explained that he eventually decided to leave the Company because

EveryWare’s continued refusal to pay vendors left him unable to do his job.

       95.      CW6 was a national sales manager at EveryWare in the specialty division. CW6

started with Anchor Hocking in 2004 and left EveryWare in September 2014. CW6 observed

that both the Anchor Hocking and Oneida portions of EveryWare were experiencing inventory

shortages by the summer of 2013. CW6 also recalled that EveryWare’s inventory problems were

compounded in the summer of 2013 by furnace fires that caused the shutdown of certain of the

Company’s operations.

       96.      CW7 worked at EveryWare and its predecessors between February 2009 and

December 2014 in the Company’s U.K. office where he was the Director of Finance. CW7

stated that in 2013, Defendant Peters had reviewed the plan by EveryWare’s U.K. management

to grow the business. That plan called for the U.K. operation to support itself from its earnings

and from a credit facility based in the U.K. until November 2013, when it was expected that

EveryWare U.S. would provide additional capital support because the U.K. credit facility would

be exhausted.

       97.      However, during a mid-November 2013 call attended by CW7, when Defendant

Peters was informed that it was time for EveryWare U.S. to extend the promised capital, Peters

told CW7 that the funding would not be forthcoming because there was “no money in the U.S.”




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One week later, CW7 was informed by the head of EveryWare International, Colin Walker, that

EveryWare was in danger of failing to meet its U.S. debt covenants.

       98.     CW7 stated that, based on his knowledge of EveryWare’s business, that

EveryWare’s management had to have known that EveryWare was running out of money and in

danger of defaulting on its debt months before November 2013. CW7 specifically pinpointed

July 2013 as a time when such facts would have been unmistakable to EveryWare management.

CW7 based this statement on his knowledge of the fact that EveryWare’s business had very

substantial lead times in orders to deliver and in revenue. Defendant Sheppard made a similar

point during EveryWare’s August 1, 2013 earnings calls, when he explained that he had

significant visibility into EveryWare’s revenues for 2013 in light of the fact that a high

percentage of the year’s orders had already been placed. Thus, per CW7, at the time Sheppard

represented on August 1, 2013 that EveryWare was on track to meet or exceed its grossly

exaggerated 2013 revenue and profit estimates, the truth was, as Sheppard knew, that EveryWare

was nearly broke, in danger of defaulting on its debt and not paying vendors.

       F.      Monomoy, Sheppard and Peters Engage in Accounting Manipulations to
               Conceal $5.9 Million in Factory Expenses Until After the Planned Secondary
               Offering

       99.     One of the themes espoused by Defendants Sheppard and Peters to support their

aggressive 2013 profit projections was that the “synergies” from the consolidation of the Oneida

and Anchor Hocking operations was resulting in cost savings. CW1, however, explained that, in

fact, Oneida and Anchor Hocking continued to be operated as separate companies, and even their

systems had yet to be consolidated.

       100.    Moreover, the improved margins that the Company touted prior to its October 30,

2013 3Q2013 announcement had been obtained by including period expenses in the Company’s



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inventories, and recognizing them only after Defendants had dumped their stock. Thus, $5.9

million in factory expenses were included in inventories to make the Company’s margins appear

stronger than they were. Thus, on March 31, 2014, in connection with the announcement of

4Q2013 earnings, EveryWare revealed that its much-worse-than-expected margins had occurred

because it had “identified a deviation from historical experience and accordingly [this] resulted

in a change in estimate of $5.9 million.”

           101.   During the April 1, 2014 earnings call, Defendant Peters explained how 4Q2013

expenses had suddenly become so much higher than previous quarters:

           <Q - Kevin Leary>: Good morning. I was hoping that you could take a minute
           and just slowly help me understand this inventory write-down a little bit better.
           It’s a relatively large charge, and specifically I'm curious what the identified
           deviation from historical experience was that was identified in the fourth quarter?

           <A - Bernard F. Peters>: Hi. This is Bernard Peters. So as we mentioned, we took
           a $5.9 million charge related to capitalized factory overheads. Basically, as we
           were in the process of updating our cost standards for 2014, we notice a deviation
           in terms of machine efficiency, and also refined our methods to determine how
           much should we capitalize as part of inventory. As a result of that, we took a
           charge in Q4, and then we're going to apply it respectively on a quarterly basis.
           But again, if you zoom in, it was really a function of focusing on machine
           efficiency, where we saw the deviation, and then re-refining the methods to
           determine how much we need to bake into the inventory.

           <Q - Kevin Leary>: So does that mean that machines are running less efficiently,
           and cost of goods increased per unit above what you had previously estimated?

           <A - Bernard F. Peters>: Only as it relates to the capitalization method we're
           using previously

           102.   The impact of these undisclosed costs was significant. As a result of the charge,

EBITDA decreased 113% versus the prior year period, a massive decline that further underscores

the extent to which Sheppard, Peters and the Monomoy Defendants had inflated EveryWare’s

results.




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       G.      Desperate to Artificially Inflate Revenue Numbers Ahead of the Secondary
               Offering, EveryWare Sells Products for Less than the Cost of Production

       103.    In a further attempt to exaggerate its revenue numbers during 2013, EveryWare

also sold products for less than the cost of production. In doing this, EveryWare was able to

record sales and build up its revenues, making it appear to investors that it was a successful and

profitable company. However, by selling products below the cost of production, as is now

obvious, the Company was taking a hit to its profits. Accordingly, what Defendants made out to

look like strong revenues in an effort to maintain a high price for shares of EveryWare common

stock during the weeks and months leading up to the September 2013 Secondary Offering were,

in fact, artificially inflated based on sales in which the Company was actually sustaining a loss.

       104.    It was only months after the Secondary Offering that the Company finally

acknowledged this fact. On a conference call with investors on April 1, 2014, then-current CEO

Solomon stated, “when we take a hard look at our product profitability, we recognize that we’re

selling some things that we don’t make money on. As we manage our capacity, we have the

opportunity, and we’re taking the opportunity to stop doing that going forward.”

       105.    As the Company and analysts noted, once EveryWare stopped selling products

below cost (and recognized its accumulated, higher inventory costs as expense), the Company’s

financial results plummeted. As an analyst report prepared by Defendant Telsey explains, when

the “decision to exit some unprofitable accounts” was made, this led to a “sales shortfall in the

consumer segment.” Similarly, Defendant Oppenheimer blamed the weakness in EveryWare’s

Fourth Quarter and Full Year 2013 financial results, in part, on the decision “to exit low/no

margin product lines.”




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          106.     Once EveryWare disclosed the truth about its practice of selling products for less

than the cost of production, its revenues dropped considerably, as did the price of the Company’s

shares.

          H.       In the Summer of 2013, Concurrent with the Many Efforts to Artificially
                   Boost EveryWare’s Stock Price, the Monomoy Defendants Prepare to Dump
                   All of Their Shares

          107.     On June 17, 2013, almost immediately after the May 21, 2013 Business

Combination, EveryWare, on behalf of several “selling stockholders,” filed a Form S-3

Registration Statement with the SEC in which they announced their intent to sell 21,313,334

shares of EveryWare common stock. Out of these over 21 million shares, more than 15 million

were to be sold by the Monomoy Defendants, which accounted for all of the Monomoy

Defendants’ shares. In addition, Defendant Baldwin sought to sell 15,000 shares and Defendant

Sheppard sought to sell 8,171 shares.

          108.     On August 13, 2013, EveryWare filed its second amendment to the Form S-3

Registration Statement. In this version, the selling stockholders reduced the number of shares

they would seek to sell in the Secondary Offering – from 21 million, to 6.5 million. Now, the

Monomoy Defendants proposed to sell approximately 5.1 million of their shares, while

Defendant Baldwin sought to sell 3,381 shares and Defendant Sheppard sought to sell 2,763

shares.

          109.     On September 3, 2013, the Company filed another amendment to its Form S-3

Registration Statement. The selling stockholders continued to seek to sell 6.5 million shares of

EveryWare common stock, although the precise amounts were slightly altered from previous

iterations.      The Monomoy Defendants proposed to sell just over 5.0 million shares, while

Sheppard sought to sell 2,740 shares and Baldwin 3,482 shares. On September 9, 2013, the SEC



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issued a Notice of Effectiveness, granting EveryWare (and its selling stockholders) the right to

conduct the Secondary Offering.

       110.    On September 12, 2013, the Company announced an underwritten public offering

of 4,000,000 shares of the Company’s common stock by the selling shareholders of EveryWare.

Significantly, the Company also reported that, on the same day, “the Audit Committee of the

Board of Directors of the Company waived the application of the lockup provisions of the [Lock-

up Agreement with the Monomoy Defendants] to permit the sale of such shares in the secondary

offering contemplated by the prospectus supplement filed with the [SEC] on September 12, 2013

to the extent of the number of shares of Common Stock that are actually sold in such offering.”

       I.      At or About the Time of the Secondary Offering EveryWare’s General
               Counsel Discovers Financial Irregularities and, After Raising Her Concerns,
               Is Fired and Investigated

       111.    Kerri Cárdenas Love served as EveryWare’s Chief Administrative Officer and

General Counsel at the time of the Secondary Offering. Ms. Love’s final date of employment

with EveryWare was October 7, 2013, three weeks after the Secondary Offering.

       112.    As described in the complaint of former EveryWare employee Michael Stewart,

who had been tasked with investigating Ms. Love after she blew the whistle, Ms. Love

discovered certain “inaccurate financial disclosures” at EveryWare.

       113.    According to Stewart’s complaint, the inaccurate financial disclosures implicated

EveryWare’s top managers, including EveryWare’s CFO, Defendant Peters, and members of

EveryWare’s Board of Directors, who are also Defendants in this case. Upon making this

discovery, Ms. Love approached EveryWare’s management and threatened to report her

discovery to the U.S. Securities & Exchange Commission if the issues were not corrected within

ninety days.   Based on the date of Ms. Love’s departure, which Defendants reported in



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EveryWare’s SEC filings, October 7, 2013, her discovery occurred at or about the time of the

Secondary Offering. According to EveryWare’s SEC reporting, on April 1, 2014, Ms. Love and

EveryWare “entered into a Confidential Separation Agreement and General Release.”

       114.   Mr. Stewart in his complaint explains that after he was instructed to review Ms.

Love’s records, he was required to report his findings to CFO Peters – one of the individuals

implicated by Ms. Love – with weekly updates of the details he was discovering. According to

Stewart, “[u]pon reporting to Peters and providing the weekly updates, Stewart began

experiencing retaliation from” EveryWare and Defendant Peters and that “[s]hortly after Stewart

began reporting to Peters, Stewart became targeted for termination.” Soon thereafter, Stewart’s

employment with the Company also was terminated.

       J.     The Monomoy Defendants Succeed in Cashing Out Shares of EveryWare in
              the September 16, 2013 Secondary Offering

       115.   On September 16, 2013, the day the Secondary Offering was commenced,

EveryWare filed its final Prospectus Supplement with the SEC on Form 424B3. A total of

1,750,000 shares were sold in the Secondary Offering, at an offering price of $11.50 per share.

Out of these shares, the Monomoy Defendants sold 1,699,773 shares, or 90%.

II.    THE MATERIALLY FALSE AND MISLEADING STATEMENTS MADE BY
       THE MONOMOY DEFENDANTS, SHEPPARD AND PETERS

       116.   To facilitate the fraudulent scheme described above, the Monomoy Defendants,

Sheppard and Peters made numerous false and misleading statements, as provided below.

       117.   On January 31, 2013, EveryWare, along with ROI, issued a press release

announcing their merger. In that press release, EveryWare represented that the “enterprise

value” of the combined Company was “approximately $420 million.”           This valuation was

misleading because, with the refinancing and cash payment to EveryWare, the Company was



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rendered insolvent, and the $420 million was derived from the 2013 earnings and revenue

estimates which were themselves baseless. In truth, EveryWare, as a result of the Merger

Transaction, would have negative shareholder equity in the amount of about $60 million, and its

ability to fund its current operations, as well as to grow its business, was undercut by its lack of

capital. To address this shortage, the Monomoy Defendants cut costs to such a degree that

EveryWare was unable to make reliable and quality deliveries to its major customers. Thus,

Monomoy undermined EveryWare’s viability, putting it on the road to bankruptcy. Indeed, at

the same time that EveryWare and its officers were touting the $420 million valuation,

EveryWare was in the process of cutting back on its 2013 inventory in a clear signal that

management fully intended to contract, not grow, revenues and profits, so that management

knew there was no basis for and disbelieved the $420 million misleading valuation.

       118.    In the January 31, 2013 press release, EveryWare represented that “For the year

ended December 31, 2013, EveryWare projects Adjusted EBITDA of approximately $61.1

million.” In the same press release, EveryWare represented to investors that they could rely on

the 2013 EBITDA estimate because it was compiled in the regular course of business at

EveryWare and reflected a good faith estimate based on up-to-date information, stating:

       This press release includes projected 2013, estimated 2012 and actual 2011
       adjusted EBITDA . . .

       EveryWare believes that these non-GAAP measures of financial results provide
       useful information to management and investors regarding certain financial
       and business trends relating to EveryWare's financial condition and results of
       operations. EveryWare's management uses these non-GAAP measures to
       compare the Company's performance to that of prior periods for trend analyses,
       for purposes of determining management incentive compensation, and for
       budgeting and planning purposes. These measures are used in monthly
       financial reports prepared for management and EveryWare's board of directors.
       EveryWare believes that the use of these non-GAAP financial measures
       provides an additional tool for investors to use in evaluating ongoing operating
       results and trends and in comparing the Company's financial measures with other

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       consumer products companies, many of which present similar non-GAAP
       financial measures to investors.

[Emphasis added]. For the reasons stated above, the $420 million valuation was not developed

from business trends or budgeting and planning information, and was not believed by EveryWare

management. Rather than providing useful information to investors, this estimate was prepared

to mislead investors (and creditors) about the value of EveryWare.

       119.    As described by CW1, EveryWare’s 2013 revenue and earnings estimate itself has

no reasonable basis, and was belied by the fact that EveryWare was cutting back on the 2013

inventory needed to satisfy sales at the projected level.

       120.    EveryWare filed the press release above with the SEC as Exhibit 99.2 to its

January 31, 2013 Form 8-K. These representations were then reiterated and incorporated by

reference on June 11, 2013, during the class period, when EveryWare referred to them in its

Post-Effective Amendment No. 1 to the Registration Statement for the Secondary Offering.

These representations were again made when they were incorporated by reference in later

amendments to the Registration Statement filed by EveryWare in connection with its September

16, 2013 Secondary Offering. Specifically, the SEC Form 8-K, dated January 31, 2013 was

incorporated by reference in Amendment No. 3 to that Registration Statement, which was filed

on September 3, 2013, so that the $420 million misleading valuation became one of the

misleading representations for the Secondary Offering.

       121.    On January 31, 2013, EveryWare filed an investor presentation with the SEC. In

the presentation, EveryWare represented that it had “Industry-leading revenue and EBITDA

growth trends.” The Company also portrayed itself as growing quickly, in large part due to its

estimated 2013 EBITDA and revenue, providing projected growth “From 2011-2013E Revenue

and Adjusted EBITDA CAGR of 24.7% and 30.5%, respectively.” Because there was no

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reasonable basis for the 2013 revenue and earnings projections, the representations of expected

growth trends year-over-year were also known by management to be misleading.

       122.    The January 31, 2013 investor presentation repeated the representation that

EveryWare’s estimates were reliable measures of the Company’s financial prospects.             The

presentation represented that the estimates were based on the Company’s “current expectations.”

Furthermore, the presentation stated:

       [C]ertain financial information in this presentation give effect to the proposed
       business combination with ROI, including TEV, 2013 Estimated EPS, 2013
       Estimated Adjusted EPS and 2013E P/E Growth . . .

       EveryWare believes that these non-GAAP measures of financial results provide
       useful information to management and investors regarding certain financial
       and business trends relating to EveryWare's financial condition and results of
       operations. EveryWare's management uses these non-GAAP measures to
       compare the Company's performance to that of prior periods for trend analyses,
       for purposes of determining management incentive compensation, and for
       budgeting and planning purposes. These measures are used in monthly
       financial reports prepared for management and EveryWare's board of directors.
       EveryWare believes that the use of these non-GAAP financial measures provides
       an additional tool for investors to use in evaluating ongoing operating results and
       trends and in comparing the Company's financial measures with other consumer
       products companies, many of which present similar non-GAAP financial
       measures to investors.

[Emphasis added]. EveryWare’s representations concerning the reliability of the 2013 earnings

estimate were misleading for the same reasons set forth above in ¶¶117-19.

       123.    In the January 31, 2013 investor presentation, EveryWare used its false earnings

and revenue projections as the basis to assert it had an enterprise value of $420.5 million and had

an “Attractive Valuation” compared to other companies. The presentation included a chart,

making these points, which is recreated below:




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                           Attractive Valuation
                                   EveryWare             Comparable Companies

Fully Distributed TEV              $420.5 million

2013E TEV/Adjusted EBITDA               6.9x                       8.1x

2013E P-E GAAP                        10.1x                       12.7x

2013E P-E-Adjusted                      7.8x                      12.7x

P/E Growth                               .6x                       1.3x


       With the above chart, EveryWare represented that its total enterprise value (“TEV”) of

$420.5 million was only 6.9 times 2013 adjusted EBITDA, whereas comparable companies were

valued at 8.1 times adjusted EBITDA, a common measure by which the market arrives at a

company’s stock price. Similarly, EveryWare made the point that its share price was only 10.1

times 2013 earnings, whereas the share price of comparable companies was 12.7 times 2013

earnings. In other words, EveryWare asserted to the market that the Company was a relative

bargain compared to other comparable companies based on 2013 expected results, when, as

described above, the 2013 revenue and earnings projections were baseless.

       124.   Also in the January 31, 2013 investor presentation, EveryWare projected its 2013

revenue as $457 million, an increase of approximately 8% over 2012. EveryWare projected

adjusted EBITDA of $61.1 million, an increase of approximately 10% over 2012. EveryWare

further represented that it expected 2013 gross margins would grow to 27.1% from 24.7% in

2012. These projections were misleading for the same reasons as set forth in ¶¶117-19 and in

¶¶103-06.

       125.   EveryWare filed the January 31, 2013 investor presentation with the SEC as

Exhibit 99.1 to its SEC Form 8-K. These representations were then reiterated and incorporated


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by reference on June 11, 2013, during the class period, when EveryWare referred to them in its

Post-Effective Amendment No. 1 to the Registration Statement for the Secondary Offering.

These representations were made again when they were incorporated by reference in a later

amendment to the Registration Statement filed by EveryWare in connection with its September

16, 2013 Secondary Offering. Specifically, the SEC Form 8-K, dated January 31, 2013 was

incorporated by reference in Amendment No. 3 to that Registration Statement, which was filed

on September 3, 2013, so that this misleading investor presentation became one of the

misleading representations for the Secondary Offering.

       126.    On February 1, 2013, ROI hosted an investor conference call during which

Defendants Collin and Sheppard spoke. Collin stated that:

       “For Monomoy, the most important aspect of this transaction is the continued role
       as the company’s largest shareholder. We believe in the business, we believe in its
       people and we believe in the future growth of the organization. We also believe
       that the structure of the transaction we are discussing today aligns the interests of
       all parties involved as we will work together tirelessly to drive go-forward
       performance and shareholder value in the years to come.”

This representation was false and misleading because Monomoy was not committed to

EveryWare and was not completing the merger with ROI in order to maintain its position as the

Company’s largest shareholder. To the contrary, at the time Collin spoke, he, along with the

Monomoy Defendants were in the midst of a complex scheme to render EveryWare insolvent

and sell off the Company’s stripped down remnants to investors at prices artificially inflated by

their own false statements, as well as the false statements of Sheppard and Peters.

       127.    EveryWare filed a transcript of the February 1, 2013 investor conference with the

SEC as Exhibit 99.1 to its SEC Form 8-K of the same date. These representations were then

reiterated and incorporated by reference on June 11, 2013, during the class period, when

EveryWare referred to them in its Post-Effective Amendment No. 1 to the Registration Statement


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for the Secondary Offering.       These representations were made again when they were

incorporated by reference in a later amendment to the Registration Statement filed by EveryWare

in connection with its September 16, 2013 Secondary Offering. Specifically, the SEC Form 8-K,

dated February 1, 2013 was incorporated by reference in Amendment No. 3 to that Registration

Statement, which was filed on September 3, 2013, so that these misleading statements became

one of the group of misleading representations for the Secondary Offering.

       128.   EveryWare’s misleading 2013 revenue and earnings projections, which remained

unchanged until the weeks following the Secondary Offering, determined EveryWare’s valuation

for the Merger Transaction, and thereafter directly drove the pricing of EveryWare’s stock by the

market. For example, on April 8, 2013, the analyst firm Telsey Advisory Group initiated

coverage on EveryWare with a “12-month price target of $12.” As the firm explained, this

valuation was derived from its estimated earnings for EveryWare in 2013: “Our 12-month price

target of $12 is based on applying a ~12x P/E multiple to our 2013 EPS estimate of $.97.”

       129.   On May 28, 2013 EveryWare filed a Form 8-K which described the Merger

Transaction including the refinancing and increase of EveryWare’s bank debt, the $90 million

cash payment to Monomoy, the terms of the Lock-up Agreement, the earn-out shares and the

approval of the merger by ROI shareholders, with $46.7 million of ROI’s cash paid to

shareholders who redeemed their ROI stock. Attached as an exhibit to the Form 8-K was a pro

forma balance sheet of the combined EveryWare and ROI companies, adjusted for the Merger

Transaction, including the increase in bank debt which was largely used to fund the $90 million

cash payment to Monomoy. The pro forma balance sheet showed that prior to the Merger

Transaction, as of March 31, 2013, EveryWare’s assets exceeded its liabilities by $10 million;




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and that after and as a result of the Merger Transaction, the combined Company’s liabilities

exceeded its assets by $60 million.

       130.      The May 28, 2013 Form 8-K, in referring to the “benefits of the Business

Combination,” the “future financial performance of the Company” and “expansion plans”

asserted, inter alia, that these statements were based on “information available as of the date of

this Current Report” and “current expectations.” As of May 28, 2013 the Company was still

touting its same 2013 revenue and earnings projections, which for the reasons stated in ¶¶117-19,

Defendants knew to be unrealistic and contrary to their current expectations.

       131.      The May 28, 2013 Form 8-K also described the Company’s 1Q2013 performance.

It explained that “general administrative expenses,” or “SAG,” had decreased by $2.5 million or

25.1% versus the prior year’s quarter, “primarily due to synergies and cost savings generated

since the merger of Oneida and Anchor Hocking.” As CW1 described, however, the operations

of Oneida and Anchor Hocking had yet to be combined, so that there had been no “synergies”

resulting in a lower SAG expense.

       132.      The Form 8-K also asserted that the Company had excluded from expense “$1.8

million of unallocated positive factory variances” which it attributed to “higher manufacturing

efficiencies.”   This, too, was false and misleading because, as the Company admitted in

explaining its 4Q2013 results, the higher factory expense that was incurred in earlier quarters had

been capitalized into inventory – thereby wrongfully reducing the expense reported in earlier

quarters, and inflating the Company’s EBITDA for the earlier quarters.

       133.      As described above, on June 11, 2013, EveryWare filed a Post-Effective

Amendment No. 1 to the Registration Statement for the Secondary Offering, which incorporated

by reference the false and misleading statements filed with the SEC in EveryWare’s earlier-filed



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SEC Form 8-K’s. The amendment was signed by Defendant Sheppard, and also Defendants

Collin and Presser, the principals from Monomoy, in their respective capacities as Chairman of

EveryWare’s Board of Directors and member of EveryWare’s Board of Directors.                   The

amendment was also signed by Defendant Peters in his capacity as EveryWare’s Executive Vice

President and CFO.

       134.    Also, on June 11, 2013, Oppenheimer & Co. Inc. initiated analyst coverage of

EveryWare with a “12-18 month” target price of $14. Oppenheimer based its $14 price target on

a “discounted cash flow” analysis under which EveryWare’s expected revenues and earnings

were used to arrive at a stock price. This analysis again underscored the materiality of the

misleading statements by EveryWare and Sheppard concerning EveryWare’s 2013 revenues and

earnings.

       135.    On June 18, 2013, EveryWare filed an investor presentation as Exhibit 99.1 to a

form 8-K filed with the SEC. In the presentation, EveryWare again reaffirmed its 2013 annual

revenue estimate of $457 million and Adjusted EBITDA of $61.1 million.          The presentation

again represented that these estimates were based on the Company’s “current expectations.”

These representations were misleading for the reasons described in ¶¶117-19.

       136.    The investor presentation again made reference to EveryWare’s baseless earnings

and revenues estimates in a chart entitled “Strong Fundamentals.”           The chart listed as

EveryWare’s strengths, “Strong net sales and EBITDA growth” and “Significant growth and

margin expansion opportunities expected to require low incremental investment.”            These

representations were false and misleading for the reasons set forth in ¶¶117-19 in ¶¶103-06.




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       137.    On August 1, 2013, EveryWare issued a press release regarding its results for the

2Q2013. The press release was entitled “EveryWare Global Inc. Announces Strong Second

Quarter and Year to Date June 30, 2013 Financial Results.” It reported that:

       •“Total revenue in the second quarter of 2013 and the six months ended June 30,
       2013 increased 2.5% to $100.8 million, and 2.8% to $200.2 million, respectively,
       versus the prior year periods”

       • International segment revenue in the second quarter of 2013 and the six months
       ended June 30, 2013 increased 25.2% to $9.2 million, and 11.6% to $18.0 million,
       respectively, versus the prior year periods. Excluding currency fluctuation,
       international segment revenue increased by 27.5% and 14.0%, for the second
       quarter of 2013 and the six months ended June 30, 2013, respectively.

       • EBITDA in the second quarter of 2013 and the six months ended June 30, 2013
       increased 19.5% to $13.8 million, and 32.4% to $22.9 million, respectively,
       versus the prior year periods.

       • Adjusted EBITDA in the second quarter of 2013 decreased 2.0% to $16.0
       million, and for the six months ended June 30, 2013 increased 3.4% to $27.5
       million.

       These representations were false and misleading for the reasons set forth in ¶¶117-19 and

in ¶¶103-06.

       138.    The August 1, 2013 press release contained a quote from Defendant Sheppard:

       “I am extremely pleased that our growth continued in the second quarter and first
       half of the year and that our results were in line with our internal expectations.
       The fundamentals and outlook for our business and industry remain strong.
       Given our continued focus on innovation, as well as our world class brands and
       customer service, we believe that we are well positioned for a strong second half
       of the year. During the second quarter, we continued to realize the benefit of the
       Oneida and Anchor Hocking combination, and are encouraged by the
       accelerating growth in our international segment. The acquisition of the
       Samuel Groves and George Wilkinson businesses in the U.K. and our Brazilian
       licensing agreement strengthen our international presence and underscore our
       commitment to building our global platform. Looking ahead, we remain
       committed to achieving our financial targets for the year”

[Emphasis added]. Sheppard’s representation that EveryWare was on track to meet its earnings

and revenue projections was false and misleading because, as described by the CWs, by this

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point, EveryWare was in a complete freefall as a result of Monomoy’s stripping out of all of the

Company’s assets. Thus, as CW7 explained, by this point, EveryWare and its management

knew, based on the orders and other sales data as of August 2013, that the Company was on track

toward running out of money by the end of the year. Thus, far from being on track to meeting

the Company’s 2013 revenue and earnings projections, which were fanciful when conceived

before Monomoy’s plundering, the Company was in the midst of collapsing. CW3, CW4, CW5

and CW6 provide further support for the fact that by the summer of 2013, the Company was

running out of money and failing to pay its vendors. Further, as CW1 described, there were no

benefits from the Oneida and Anchor Hocking combination because the companies had yet to be

combined. Moreover, any improvements in margin had been accomplished through accounting

manipulations, including capitalizing “factory overhead variances” into inventory rather than

recognizing current expense.      As CW7 described, by the summer of 2013 EveryWare

management knew that the Company’s lack of capital was preventing the international segment

from accomplishing sales growth from EveryWare’s U.K. office’s acquisitions of the Samuel

Groves and George Wilkinson businesses. As Defendants well knew by the summer of 2013, the

cumulative effect of the massive budget cuts and inventory shortages would make it impossible

for the Company to retain its current customers and business, much less to achieve its revenue

and earnings growth targets in the second half of 2013.

       139.    Also on August 1, 2013, EveryWare held a conference call with analysts

concerning EveryWare’s results for 2Q2013. Defendants Sheppard and Peters participated on

behalf of the Company.

       140.    During the 2Q13 earnings call, Sheppard again reaffirmed that EveryWare was

“on track” to meet its false 2013 earnings and revenue projections:



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       So, from an operational and financial standpoint, we are off to a very solid start in
       2013 and expect the second half of the year to be even stronger. As our financial
       results indicate, the business continues to perform well in line with our internal
       expectations, and we remain on track to meet our stated financial commitments
       for 2013. I'll let Bernard walk you through the details of the financials. But just to
       start off with a quick overview, total reported revenue in the quarter increased
       2.5% to $100.8 million, and through the first six months of 2013, increased 2.8%
       to $200.2 million. Reported EBITDA also increased a very strong 19.5% in the
       quarter and was up 32% through the first half of 2013.

[Emphasis added]. These representations were false and misleading for the reasons set forth in

¶¶103-106, 117-19 and 138. Significantly, as explained in paragraph 138, by August 1, 2013, it

was unmistakably clear to Sheppard that EveryWare could never reach its 2013 projections and,

in fact, was on a course to run out of money by the end of 2013 and default on its debt

obligations and was, therefore, at serious risk of ceasing to exist as a Company.

       141.    During the 2Q2013 earnings call, Sheppard further stated:

       So now turning to Foodservice. This segment accounts for about 32% of sales.
       The Foodservice segment is highly attractive, given its higher contribution
       margins and strong recurring revenue characteristics. Once a new customer is
       established, high switching costs and confidence in replacement product due to
       broken or misplaced tableware help to establish long-term customer
       relationships.

       In our Foodservice segment, we see ample room for profitable growth as we
       leverage the integration of our Anchor Hocking foodservice glass business with
       our industry-leading flatware and dinnerware business. While we are currently
       the number three provider of foodservice beverageware, we see great potential for
       growth as our customers look to EveryWare as a one-stop shop for all of their
       tabletop needs

                                       *         *         *

       Finally, our International segment. This segment continues to show
       accelerating growth, with second quarter reported revenue increasing 25% over
       the prior year. International growth is a key tenet of our overall growth
       strategy, and while today our International business comprises only about 7% of
       sales, we expect that to represent over 11% at the end of this year and close to
       25% in the next five years.




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[Emphasis added]. These representations were false and misleading for the reasons stated in

¶¶103-106 and 138. Further, as described by CW3 and CW4, the Company was losing key

foodservice clients as a result of its shift to low quality and unreliable suppliers. Also, as

described by CW7 by the summer of 2013 Defendants knew that the profitable growth in the

international segment required capital – which had been depleted as a result of the Merger

Transaction.

       142.    During the 2Q2013 earnings call, Peters made the following statements:

       Looking at the top line, total reported revenue in the quarter increased 2.5% to
       $100.8 million compared to $98.4 million in the prior-year period. Excluding
       currency fluctuation, the revenue increase was 2.7%. The increase in the
       second quarter revenue is primarily attributable to strong growth in the
       company's International and Specialty segments. For the first six months of the
       year, total reported revenue increased 2.8% to $200.2 million compared to $194.8
       million in the prior year period. Excluding currency fluctuation, the revenue
       increase was 3% due to growth in all of our segments.

       In terms of profitability, EBITDA increased 19.5% to $13.8 million in the
       quarter. The strong growth in EBITDA is a testament to the continued volume
       and revenue growth of the business and the decline in operating expenses
       driven by synergies and cost savings generated with the integration of Anchor
       Hocking and Oneida. Specifically, we generated $2.7 million of savings in the
       second quarter linked to the identified synergies. These lower costs impact
       primarily SG&A and, to a lesser extent, our cost of goods sold

[Emphasis added]. These statements were false and misleading for the reasons set forth in

¶¶103-106, 117-19 and 138.

       143.    During the question and answer period of the 2Q2013 earnings call, Sheppard

continued to tout his purported (and false and misleading) expectations for higher performance in

the second half of 2013:

       <Q >: Hi, good morning and congratulations on your first quarter as a public
       company. To try to help us get a better feel for it, could you comment and help
       all of us understand the seasonality of your business, and more specifically,
       how we should think about the gross margin expectation for the second half of



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       the year, given the seasonality and also given the July shutdown you mentioned
       on your facility?

       <A John K. Sheppard>: [] Thanks for the question. In terms of seasonality, . . .
       when I say the back half of the year, we're back-end loaded. And that's primarily
       the result of a couple items. One is on the International side, we made the
       strategic decision earlier this year to really widen our product offering across
       the globe. And so, what you'll see is, in the UK, growth across our Consumer
       segment, Foodservice in the web because of this additional product assortment.

[Emphasis added]. Sheppard’s representation that EveryWare’s expected results were “back-

loaded” to the second half of the year, and that, in particular U.K. and Foodservice performance

was expected to improve in the second half of 2013 was false and misleading for the reasons

stated in ¶¶103-106, 117-19 and 138.

       144.    During the question and answer period of the 2Q2013 earnings call, Sheppard

continued to falsely tout his expectations for higher growth in the international segment:

       And finally on the export glass business. It's more an issue there of just making
       sure we have the logistics in place, which we now do. So International will
       continue to grow. As we said, we're up almost 27% – almost 28% if you exclude
       the foreign exchange, and we expect that growth to continue in the second half
       of the year, as we really start to leverage this infrastructure we put in place.

[Emphasis added]. These statements are false and misleading for the reasons stated in ¶¶103-

106, 117-19 and 138.

       145.    During the question and answer period of the 2Q2013 earnings call, Sheppard and

Peters had the following colloquy with an analyst in which they repeatedly reconfirmed that, as

of August 1, 2013, the Company was on track to meet its 2013 earnings and revenue guidance:

       <Q>: . . . I guess, first, just so we are all on the same page here, I guess the
       question for Bernard. Could you walk us through your specific financial targets
       for the year, maybe revenue, adjusted EBITDA, adjusted net income, and then,
       what is incremental to that from the Wilkinson and Groves acquisitions?

       <A - Bernard F. Peters>: Thanks, Joe. Yes. In terms of net sales, as we have
       disclosed before, our target is about $457 million. That's what we explained to
       the public previously. In terms of EBITDA, again, we're sticking to the

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       numbers that we've disclosed before, at about $61 million. Net income is not
       something that we typically disclose. I will leave at revenues and EBITDA. So,
       overall, we are essentially comfortable with these numbers as of now.

       <A - John K. Sheppard>: Yes. Hey, Joe, this is John. I'll just jump in here. On
       the revenue number, obviously, that's about 8%. Our long-term goals on – we've
       always stated for top-line growth has been in that 5% to 7%. So we're anticipating
       8% as a result of all the initiatives we've put in place. And so – and we expect
       that 8% – we're still comfortable with that 8% range. And so, yes, we're
       comfortable with that.

[Emphasis added].    Peters’ and Sheppard’s reaffirmance of the false and misleading 2013

revenue and earnings estimates was false and misleading for the reasons set forth in ¶¶103-106,

117-19 and 138.

       146.   In fact, after being questioned about the impact on revenue of a recent acquisition

by the Company, Sheppard represented that EveryWare’s 2013 revenue would actually be higher

than the $457 million projection and would actually be in the range of $460 million:

       <Q >: Okay. Just so I'm clear, those numbers that you just gave us were numbers
       that you had given us in the past. So –

       <A - John K. Sheppard>: Yes.

       <Q >: So – previous to the UK acquisition, so I'm just trying to see what's
       incremental.

       <A - John K. Sheppard>: Yes. Okay. Let me walk you through that, sorry. So,
       basically, we're – the number is around 8% we expect for this year, and we're
       comfortable with that. That's – we're right in line with our internal plans to hit
       that. The Metalrax acquisition, or the Samuel Groves and George Wilkinson
       business units of Metalrax Housewares will give us – as we said, [ph] that was
       around (32:52) $14 million, $15 million for the first 12 months. Now in the first
       six months, we actually expect that to be – it's more back-end loaded, because of
       some of the initiatives we put in place and as we integrate the sales forces, et
       cetera. So, you won't see, though, the huge impact of Metalrax until the first six
       months of 2014. For 2013, we expect some modest growth there, in I'd say the
       $5 million to $6 million range. And so we believe that they – we can – the new
       estimate from – $457 million is our budget. We think we can be around the
       $460 million range right now, and that's what we're comfortable with. It takes
       us to around 8.5% when you include that. So – and you're right, because that's



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        – we've always said $457 million, excluding Metalrax. With Metalrax, it should
        be in that 8% to 8.5% range and around $460 million.

[Emphasis added]. Sheppard’s representation – as of August 1, 2013 – that EveryWare was on

track to exceed its even higher international revenues was false and misleading for the reasons

set forth in ¶¶103-106, 117-19 and 138.

        147.   After another analyst asked a follow-up question on 2013, Sheppard tripled down,

agreeing that $460 million was a “conservative” revenue estimate and that 2013 revenue could

easily be higher, in the range of $462 million:

        <Q >: Follow-ups, John, in your remarks, you indicated that the acquisitions
        could add $5 million to $6 million in revenue this year, but you only added back
        $3 million. I assume that's an attempt to be conservative, or did I miss –

        <A - John K. Sheppard>: It's – yes, it's actually an attempt to be conservative.
        It's going to add around $5 million to $6 million as we look at our business. Yes,
        we're – I'd say the $460 million range. I said 8% to 8.5%. So we obviously try to
        make sure that we're going to deliver our numbers. I'd say – but when we look at
        the Metalrax business, it's going to be in that $5 million to $6 million range. We're
        still working through the integration of that. We still feel very comfortable with
        the $5 million to $6 million. And so when you add that to that – yes, I mean, so,
        is it $461 million, $462 million? That would be probably a good number. I'd feel
        more comfortable with the $460 million, but we were
        certainly striving for a little bit higher than that.

[Emphasis added]. Sheppard’s representations that EveryWare was actually on track to achieve

earnings and revenue over and above the baseless 2013 estimates were false and misleading for

the reasons set forth in ¶¶103-106, 117-19 and 138.

        148.   In response to a question by an analyst, Sheppard represented that his assessment

that EveryWare was on track to meet its 2013 annual estimates for earnings and revenues (which

required that products be delivered) were reliable based upon sales orders that were already on

hand:

        <Q >: Got it. Okay. And then just, in terms of your visibility, obviously your
        business is not one where you have a huge amount of inventory turns. I'm

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       curious how much visibility you have into the second half in terms of [ph] sell-
       in (35:17) and orders in hand from retailers at this point?

       <A - John K. Sheppard>: Yes. It's more than I had thought before I joined this
       segment. I think what you find is that, for a lot of our accounts, they would – it's
       for holiday promotional sets that you try to lock in – I'd say, pretty much starting
       now and every week as you go forward, you start to kind of capture more and
       more of your goal for the year on your holiday sets and your promotional
       programs. And so what we've seen is, as you sit here today, you look and you say,
       oh gosh, we haven't locked in a certain amount of holiday, that's typical. As you
       get into August, September, you start to see, okay, now you blocked in 30%,
       40%, 70%. And that's how it kind of works through the year. And as you get
       towards the end of the year, you end up usually locking in all of that. So, where
       we are today, we're very comfortable with the holiday set program and
       particularly with the new SKUs and the market initiatives that we put in place
       almost 12 months ago that are – as you said, have been accepted so well as a
       result of what we saw at the Chicago Housewares Show when we launched these
       new products and the acceptance there. So that's why we're – we remain
       confident in our ability to deliver the second half of the year, based on the
       reaction and what we have in hand so far for that period.

[Emphasis added].

       149.    These misrepresentations had the desired effect of boosting EveryWare’s stock

price in anticipation of the Secondary Offering in which Monomoy planned to dump its stock.

For example, on August 2, 2013, Oppenheimer & Co. Inc. issued an analyst report covering the

earnings call and setting a price target of $15 for EveryWare. In explaining its rationale,

Oppenheimer wrote, “Importantly, management noted that these results [2Q2013] were

consistent with its own internal expectations, and that it remains on track to achieve its prior full-

year guidance, including revenue of $457 million and adjusted EBITDA of $61 million. . . .”

Oppenheimer further stated, “Looking out at 2H, EVRY’s guidance implies a rather significant

acceleration in revenue growth. That said, management spent a fair amount of time on

Thursday’s call discussing the drivers of acceleration, including the new customer wins in the

Consumer segment and international growth.”




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       150.    The analyst firm Telsey Advisory Group issued an analyst report on August 2,

2013 that set a price target for EveryWare of $14. In explaining its rationale, the Telsey

Advisory Group noted that “EveryWare maintained its adjusted EBITDA guidance of $61

million and now expects sales to be ~$460 million, $3 million higher than previously forecast,

due to the contribution of the recently announced acquisition in the U.K.”

III.   THE FALSE AND MISLEADING REGISTRATION STATEMENT FOR THE
       SEPTEMBER 16, 2013 SECONDARY OFFERING AND RELATED
       MISLEADING STATEMENTS

       151.    As described above, a major driver of the securities violations at issue in this case

was Monomoy’s desire to earn a massive profit on its stake in EveryWare by cashing out all of

its shares in September 2013 at prices inflated by Defendants’ various false statements.       The

Registration Statement filed by EveryWare, as well as the prospectuses issued, contained

materially false and misleading statements and omissions, including violating Item 303 of

Regulation S-K, 17 C.F.R. §229.303 (“Item 303”) by failing to truthfully report the Company’s

true trends and conditions. In addition, the Monomoy Defendants made false and misleading

statements in connection with the Secondary Offering.

The False and Misleading Registration Statement

       152.    The Registration Statement for the Secondary Offering was initially filed on June

17, 2013, only three weeks after the Merger Transaction, and was amended three times, on July

23, 2013, August 13, 2013 and September 3, 2013. The initial registration statement, with its

amendments and related prospectus, constitutes the “Registration Statement” for purposes of the

alleged violations of the Securities Act.     The Registration Statement became effective on

September 9, 2013. The prospectus for the offering was filed on September 16, 2013, the date of

the Secondary Offering.



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       153.    The initial June 17, 2013 Registration Statement, known as an SEC Form S-3,

would have allowed the Monomoy Defendants and other selling shareholders to sell 21,313,334

shares for estimated proceeds of $222,298,073.62. The vast bulk of these shares, 15+ million

shares, were to be sold by Monomoy, which would have exhausted its ownership interest in

EveryWare.

       154.    As explained above, because Defendants failed in their efforts to sustain

EveryWare’s share price at $12.50 in the months preceding September 2013, the prohibitions on

Monomoy’s sale of its shares contained in the Lock-up Agreement continued to apply.

Ultimately, Monomoy sold 1.7 million shares in the Secondary Offering pursuant to a waiver of

the Lock-up Agreement restrictions approved by EveryWare’s Audit Committee.

       155.    The Registration Statement was false and misleading because it incorporated by

reference EveryWare’s false and misleading earnings and revenue projections from its earlier-

filed Form 8-K’s. See ¶¶117-127. These statements were false and misleading for the reasons

described in in these paragraphs. Further, it was misleading for the Registration Statement to

include these representations without disclosing that by September 16, 2013, the Company was

in the midst of collapse, had essentially run out of money and was in danger of violating its debt

covenants.

       156.    The Final Prospectus incorporated by reference a draft agreement between the

underwriters and selling shareholders, including Monomoy, that accompanied the September 12,

2013 SEC Form 8-K. The agreement specifically provided that “[t]he sale of Shares by each

Selling Stockholder pursuant to this Agreement is not prompted by such Selling Stockholder’s

knowledge of any material information concerning the Company or any of its subsidiaries which

is not set forth in the Prospectus.” This statement was false and misleading because, as described



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herein, the Monomoy Defendants knew that they had stripped EveryWare of its assets in January

2013, strangled the Company of the resources it needed to survive thereafter, and pushed the

Company into a severe decline, and that the decline precipitated by Monomoy’s actions had

progressed to the point whereby the Company was on the brink of collapse. The Monomoy

Defendants also knew that EveryWare’s 2013 earnings and revenue projections, which were

used to prop of EveryWare’s stock price throughout 2013, were baseless fabrications.

       157.    Furthermore, this Underwriting Agreement contained draft “Representations,

Warranties and Agreements,” which provided:

       “No Selling Stockholder has taken and will not take, directly or indirectly, any
       action designed to or that might reasonably be expected to cause or result in
       stabilization or manipulation of the price of any security of the Company to
       facilitate the sale or resale of the Shares.”

This statement was false and misleading because, as described herein, the Monomoy Defendants

had taken a vast number of steps, both direct and indirect, to artificially boost the price of

EveryWare stock in advance of the Secondary Offering, including the issuance of misleading

earnings and revenue estimates for 2013.

       158.    Furthermore, in violation of Item 303, the Registration Statement failed to

disclose the following material trends and conditions: (1) that the Merger Transaction had

rendered EveryWare insolvent and without adequate capital to pay its suppliers and other

expenses in the ordinary course; (2) that in the wake of the stripping away of the Company’s

capital, the Monomoy Defendants and Sheppard had imposed draconian cost reductions,

including shifting its purchases from reliable, high quality domestic suppliers to low quality and

unreliable suppliers in China, which had led to inventory shortages, alienated major long-time

customers, particularly in the high margin food service segment, and interfered with the

Company’s ability to retain its existing business, much less grow its revenues and profits,

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including in the international area; (3) that the 2013 revenues and earnings projections lacked

any basis and were not believed by Company management; (4) that EveryWare was selling

products at negative profits in order to artificially boost revenue; and (5) that EveryWare had

improperly failed to recognize as expense incurred factory costs and instead capitalized them to

inventory in violation of the Company’s accounting policies.

The False and Misleading Offering Prospectus

       159.    On September 16, 2013, EveryWare filed the prospectus for the Secondary

Offering.   The prospectus provided for an initial sale by Monomoy and the other selling

shareholders of 1,750,000 shares of EveryWare stock at a price of $11.50, for proceeds of

$20,125,000.

       160.    The prospectus was false and misleading because it incorporated by reference

EveryWare’s false and misleading earnings and revenue projections from the Company’s earlier-

filed Forms 8-K. As explained above, these statements were false and misleading for the reasons

set forth in ¶¶117-118. The prospectus was part of the Registration Statement and false and

misleading for the same reasons as the Registration Statement.

Monomoy’s False and Misleading Representations and Warranties In Its Underwriting
Agreement

       161.    On September 17, 2013, Monomoy filed a Schedule 13D/A with the SEC.

Attached as Exhibit 11 was a signed version of the agreement that had been included in the

Registration Statement. The agreement was signed by Monomoy Capital Partners L.P., MCP

Supplemental Fund, L.P., Monomoy Executive Co-Investment Fund, L.P., Monomoy Capital

Partners II L.P., MCP Supplemental Fund, II L.P., Monomoy General Partner L.P., Monomoy

General Partner II L.P., and Monomoy Ultimate GP LLC, as well as Dan Collin on behalf of

other individual sellers.


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       162.    Monomoy attached the Underwriting Agreement with Oppenheimer & Co. Inc. to

its form Schedule 13D/A filed with the SEC. As described in ¶¶156-57, the representations in

the Underwriting Agreement were false and misleading.

       163.    At or about the time of the Secondary Offering, Kerri Love, EveryWare’s General

Counsel who was required under the Underwriting Agreement to provide an opinion letter to the

Underwriter, identified further accounting irregularities and reported them to senior

management. Rather than correct the false and misleading financial reports, Defendants fired

Ms. Love, and then fired Michael Stewart who had located Ms. Love’s incriminating records.

IV.    THE TRUTH IS REVEALED

       164.    Defendants began to reveal the true state of EveryWare’s affairs on October 30,

2013. On that date, EveryWare released its financial results for 3Q2013, i.e., the period ended

September 30, 2013, just two weeks after the Secondary Offering was conducted. The Company

reported a loss of $1.1 million for 3Q2013 and revised its 2013 annual guidance for expected

revenues from $460 million to a range of $445 and $455 million, and for EBITDA from $61

million to a range of $55-57 million. At the earnings call conducted the same day to explain the

3Q2013 results, CFO Peters disclosed that EveryWare’s margins had declined 140 basis points

due to a shift in EveryWare’s sales product mix in the “Foodservice and Consumer” segments –

i.e., that highly profitable Foodservice sales had fallen while sales in less profitable areas had

increased.

       165.    In response to this news, on October 30, 2013 Oppenheimer & Co. Inc. issued an

analyst report in which it dropped its target price for EveryWare to $13 from the $15 price it had

targeted on August 2, 2013. In explaining its rationale, Oppenheimer stated, “EveryWare’s 3Q

results were below expectations, weighed down by margin pressures owing to revenue mix.



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Further, the company reduced its full year guidance.” On October 31, 2013, Imperial Capital

issued an analyst report also lowering EveryWare’s target price from $15 to $13, citing the

Company’s lowered guidance and margin decline. Telsey Advisory Group issued an analyst

report on October 31, 2013 lowering EveryWar’s target price from $14 to $13, citing the lowered

guidance and margin decline.

       166.   In response to these disclosures, the price of EveryWare stock plummeted from

$10.99 on October 29, 2013 to $8.36 on November 1, 2013, an approximately 24% decline.

       167.   In further commenting on the reasons for its assessment of EveryWare’s

prospects, on November 19, 2013, Oppenheimer & Co. Inc. issued a report explaining that the

Company’s “management” had a “meaningful credibility deficit” among “investors.”

       168.   On February 25, 2014, the Company filed a Form 8-K announcing the immediate

and unexpected resignation of Sheppard, the Company’s President and CEO. On this news,

shares of EveryWare declined from $7.58 on February 24, 2014 to $5.45 on February 26, 2014, a

decline of approximately 28%.

       169.   Oppenheimer, in its analyst report filed the same day, reported that it had been

“blindsided” by the announcement and reduced its rating on EveryWare to “perform.”

Oppenheimer explained that “the unexpected departure of CEO John Sheppard, announced

Tuesday morning, [] underscores our concerns about the company’s execution in a difficult

operating environment, while also reflecting a distinct lack of visibility into the company’s

strategy.” Oppenheimer also then withdrew its price target for EveryWare.

       170.   On March 5, 2014, the Company announced on a conference call that it was

postponing its Fourth Quarter and full year 2013 Earnings Release. On this news, the stock




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declined from $5.46 on March 5, 2014 to $4.07 on March 7, 2014, a decline of approximately

25%.

       171.    On March 31, 2014, the Company issued its Form 10-K for fourth quarter and

fiscal year ended December 31, 2013. The Company reported a loss per share of $1.03 with total

revenue of $439.8 million for the year ended December 31, 2013, well below the $457 million

2013 estimate that Defendants had used to support the price of EveryWare stock through the

time of the Secondary Offering in September 2013. Adjusted EBITDA for 2013 was $51.5

million, far below the $61 million guidance that Sheppard had reaffirmed as recently as August

2013. Between March 31, 2014 and May 14, 2014, the price of EveryWare stock fell steadily

from $4.56 on March 31, 2014 to $1.40 on May 14, 2014.

       172.    On May 15, 2014, the Company surprised the market yet again when it

announced a net loss for the first quarter of 2014 (“1Q2014”) of $38.4 million, or $1.87 per share

compared with net income of $0.2 million or $0.20 per share for 1Q2013. The Company further

announced that it was in default on its financial debt covenants in its loan agreements with its

banks that would require $18.7 million in additional capital to cure the default. The Company

further announced that it was temporarily closing two of its factories and furloughing workers in

order to conserve cash and reduce inventory and that the Company’s cash flows from operating

activities with the credit facility would not be expected to fund operations in the near future.

       173.    Additionally, the Company reported that net sales had decreased $4.5 million, or

4.5% year-over-year, and that the decrease in revenues had occurred across all segments, except

the international segment. The Company’s cost of sales increased $7.5 million or 10.2% year-

over-year and the Company’s gross margin had decreased from 26% in 1Q2013 to 14.6% in

1Q2014, a reduction of 44%.



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       174.    The Company further stated that in an effort to conserve cash and reduce

inventory, it had temporarily shut down two U.S. manufacturing facilities.         The Company

admitted that, in an effort to reduce inventory, beginning in January 2014, it had reduced

production by shutting down one of its glass furnaces, which negatively impacted the Company’s

gross margins and cash flows.

       175.    On this news, the stock plummeted, dropping 31% from $1.38 on May 15, 2014,

and reaching an all-time low of 94¢ per share on May 16, 2014 on unprecedented volume. All

told, the stock dropped approximately 90% from its Class Period high of $13.24. Each of these

stock price drops from were a result of partial disclosures of the truth relating to the financial

condition, or actual or expected performance for 2013 that had been the subject of earlier

materially misleading statements or omissions.

       176.    On April 7, 2015, the Company filed for bankruptcy.

                              CLASS ACTION ALLEGATIONS

       177.    Plaintiffs bring this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class consisting of all those who purchased EveryWare

securities (i) during the Class Period, and who were damaged thereby, and/or (ii) pursuant and/or

traceable to the Offering Documents issued in conjunction with the Secondary Offering, to seek

remedies under the Securities Act (collectively, the “Class”). Excluded from the Class are

Defendants, the officers and directors of the Company, at all relevant times, members of their

immediate families and their legal representatives, heirs, successors or assigns and any entity in

which Defendants have or had a controlling interest.

       178.    The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, EveryWare securities were actively traded on the



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NASDAQ Stock Market. While the exact number of Class members is unknown to Plaintiffs at

this time and can only be ascertained through appropriate discovery, Plaintiffs believe that there

are hundreds or thousands of members in the proposed Class. Millions of EveryWare shares

were traded publicly during the Class Period on the NASDAQ. As of March 17, 2014, there

were 22,120,023 shares of EveryWare common stock outstanding. Record owners and other

members of the Class may be identified from records maintained by EveryWare or its transfer

agent and may be notified of the pendency of this action by mail, using the form of notice similar

to that customarily used in securities class actions.

       179.       Plaintiffs’ claims are typical of the claims of the members of the Class, as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law, which is complained of herein.

       180.       Plaintiffs will fairly and adequately protect the interests of the members of the

Class and have retained counsel competent and experienced in class and securities litigation.

       181.       Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                  (a)    Whether the federal securities laws were violated by Defendants’ acts as

alleged herein;

                  (b)    Whether statements made by Defendants to the investing public during the

Class Period omitted and/or misrepresented material facts about the business, operations, and

prospects of EveryWare;




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                  (c)    Whether statements made by Defendants to the investing public in the

Offering Documents misrepresented material facts about the business and operations of

EveryWare;

                  (d)    Whether the price of EveryWare shares was artificially inflated during the

Class Period; and

                  (e)    To what extent the members of the Class have sustained damages, and the

proper measure of damages.

        182.      A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy, since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation makes it impossible for members of the Class to individually

redress the wrongs done to them. There will be no difficulty in the management of this action as

a class action.

                                         LOSS CAUSATION

        183.      Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

the economic loss suffered by Plaintiffs and the Class.

        184.      During the Class Period, Plaintiffs and the Class purchased EveryWare securities

at artificially inflated prices and were damaged thereby. When the misrepresentations that had

been made to the market, and/or the information alleged herein to have been concealed from the

market, were revealed, the price of the Company’s securities significantly declined, causing

investors’ losses.




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                       APPLICABILITY OF PRESUMPTION OF RELIANCE
                           (FRAUD-ON-THE-MARKET DOCTRINE)

          185.   The market for EveryWare securities was open, well-developed and efficient at all

relevant times. As a result of the materially false and/or misleading statements and/or failures to

disclose, EveryWare securities traded at artificially inflated prices during the Class Period.

Plaintiffs and other members of the Class purchased or otherwise acquired the Company’s

securities, relying upon the integrity of the market price of EveryWare securities and the market

information relating to EveryWare, and have been damaged thereby.

          186.   During the Class Period, the artificial inflation of EveryWare stock was caused by

the material misrepresentations and/or omissions particularized in this complaint, causing the

damages sustained by Plaintiffs and other members of the Class. As described herein, during the

Class Period, Defendants made or caused to be made a series of materially false and/or

misleading statements about EveryWare’s business, financial condition, operations and

prospects. These material misstatements and/or omissions created an unrealistically positive

assessment of EveryWare and its business and value, thus causing the price of the Company’s

securities to be artificially inflated at all relevant times, and when disclosed, negatively affected

the prices of the Company’s stock. Defendants’ materially false and/or misleading statements

during the Class Period resulted in Plaintiffs and other members of the Class purchasing the

Company’s securities at such artificially inflated prices, and each of them has been damaged as a

result.

          187.   At all relevant times, the market for EveryWare securities was an efficient market

for the following reasons, among others:

                 (a)     EveryWare stock met the requirements for listing, and was listed and

actively traded on the NASDAQ, a highly efficient and automated market;

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               (b)     As a regulated issuer, EveryWare filed periodic public reports with the

SEC and/on the NASDAQ;

               (c)     EveryWare regularly communicated with public investors via established

market communication mechanisms, including through regular dissemination of press releases

on the national circuits of major newswire services and through other wide-ranging public

disclosures, such as earnings calls with analysts and communications with the financial press and

other similar reporting services; and/or

               (d)     EveryWare was followed by securities analysts employed by brokerage

firms who wrote reports about the Company, and these reports were distributed to the sales force

and certain customers of their respective brokerage firms. Each of these reports was publicly

available and entered the public marketplace.

       188.    As a result of the foregoing, the market for EveryWare securities promptly

digested current information regarding EveryWare from all publicly available sources and

reflected such information in EveryWare’s stock price. Under these circumstances, all purchasers

of EveryWare securities during the Class Period suffered similar injury through their purchase of

EveryWare securities at artificially inflated prices, and a presumption of reliance applies.

                                       NO SAFE HARBOR

       189.    The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

The statements and omissions alleged to be false and misleading herein relate to then-existing

facts and conditions. In addition, to the extent that certain of the statements alleged to be false or

misleading may be characterized as forward looking, there were no meaningful cautionary

statements identifying important factors that could cause actual results to differ materially from



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those in the purportedly forward-looking statements, or material facts necessary to make the

statements not misleading were withheld. In the alternative, to the extent that the statutory safe

harbor is determined to apply to any forward-looking statements pleaded herein, Defendants are

liable for those false or misleading forward-looking statements because, at the time each of those

forward-looking statements was made, the speaker had actual knowledge, or was reckless in not

knowing, that the forward-looking statement was materially false or misleading, and/or the

forward-looking statement was authorized or approved by an executive officer of EveryWare

who knew, or was reckless in not knowing, that the statement was false or misleading when

made.

                                            COUNT I

  Violation of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated Thereunder
            Against Defendants Sheppard, Peters, and the Monomoy Defendants

        190.    Plaintiffs repeat and reallege each and every allegation contained above as if fully

set forth herein.

        191.    During the Class Period, Defendants Sheppard, Peters, and the Monomoy

Defendants, including Collin and Presser, carried out a plan, scheme and course of conduct

which was intended to and, throughout the Class Period, did: (i) deceive the investing public,

including Plaintiffs and other Class members, as alleged herein; and (ii) cause Plaintiffs and

other members of the Class to purchase EveryWare securities at artificially inflated prices. In

furtherance of this unlawful scheme, plan and course of conduct, these Defendants, and each of

them, took the actions set forth herein.

        192.    Defendants Sheppard, Peters, and the Monomoy Defendants, including Collin and

Presser: (i) employed devices, schemes, and artifices to defraud; (ii) made untrue statements of

material fact and/or omitted to state material facts necessary to make the statements not

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misleading; and (iii) engaged in acts, practices, and a course of business which operated as a

fraud and deceit upon the purchasers of the Company’s securities in an effort to maintain

artificially high market prices for EveryWare securities in violation of Section 10(b) of the

Exchange Act and Rule 10b-5. These Defendants are sued either as primary participants in the

wrongful and illegal conduct charged herein or as controlling persons, or both, as alleged below.

       193.    Defendants Sheppard, Peters, and the Monomoy Defendants, including Collin and

Presser, individually and in concert, directly and indirectly, by the use, means or

instrumentalities of interstate commerce and/or of the mails, engaged and participated in a

continuous course of conduct to conceal adverse material information about EveryWare’s

business, operations and financial performance, and prospects, as specified herein.

       194.    Defendants Sheppard, Peters, and the Monomoy Defendants, including Collin and

Presser, employed devices, schemes, and artifices to defraud, while in possession of material

adverse non-public information, and engaged in acts, practices, and a course of conduct as

alleged herein in an effort to assure investors of EveryWare’s value and performance and

continued substantial growth. These acts included the making of, or the participation in the

making of, untrue statements of material facts and/or omitting to state material facts necessary in

order to make the statements made about EveryWare and its business operations and financial

prospects in light of the circumstances under which they were made, not misleading. As set forth

more particularly herein, these Defendants further engaged in transactions, practices and a course

of business which operated as a fraud and deceit upon the purchasers of the Company’s

securities during the Class Period. Defendants Sheppard, Peters, and the Monomoy Defendants,

including Collin and Presser, had actual knowledge of the misrepresentations and/or omissions

of material facts set forth herein, or acted with reckless disregard for the truth in that they failed



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to ascertain and to disclose such facts, even though such facts were available to them.

Defendants Sheppard’s, Peters’, and the Monomoy Defendants’, including Collin’s and

Presser’s, material misrepresentations and/or omissions were done knowingly or recklessly and

for the purpose and effect of concealing EveryWare’s financial condition from the investing

public and supporting the artificially inflated price of its securities. As demonstrated by these

Defendants’ misstatements and/or omissions concerning the Company’s business, operations,

financial wellbeing, and prospects throughout the Class Period, if these Defendants did not have

actual knowledge of the misrepresentations and/or omissions alleged, they were reckless in

failing to obtain such knowledge by deliberately refraining from taking those steps necessary to

discover whether those statements were false or misleading.

       195.    As a result of the dissemination of the materially false and/or misleading

information and/or failure to disclose material facts, as set forth above, the market price of

EveryWare securities was artificially inflated during the Class Period. In ignorance of the fact

that market prices of the Company’s securities were artificially inflated, and relying directly or

indirectly on the false and misleading statements made by Defendants Sheppard, Peters, and the

Monomoy Defendants, including Collin and Presser, or upon the integrity of the market in which

the securities trade, and/or in the absence of material adverse information that was known to or

recklessly disregarded by these Defendants, but not disclosed in public statements by these

Defendants during the Class Period, Plaintiffs and the other members of the Class acquired

EveryWare securities during the Class Period at artificially high prices and were damaged

thereby.

       196.    At the time of said misrepresentations and/or omissions, Plaintiffs and other

members of the Class were ignorant of their falsity, and believed them to be true. Had Plaintiffs



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and the other members of the Class and the marketplace known the truth regarding EveryWare

and its business and prospects, which were not disclosed by Defendants Sheppard, Peters, and

the Monomoy Defendants, including Collin and Presser, Plaintiffs and other members of the

Class would not have purchased or otherwise acquired their EveryWare securities, or, if they had

acquired such securities during the Class Period, they would not have done so at the artificially

inflated prices which they paid.

       197.    By virtue of the foregoing, Defendants Sheppard, Peters, and the Monomoy

Defendants, including Collin and Presser, have violated Section 10(b) of the Exchange Act and

Rule 10b-5 promulgated thereunder.

       198.    As a direct and proximate result of Defendants Sheppard’s, Peters’, and the

Monomoy Defendants, including Collin’s and Presser’s, wrongful conduct, Plaintiffs and the

other members of the Class suffered damages in connection with their respective purchases and

sales of the Company’s securities during the Class Period.

                                           COUNT II

    Violation of Section 20(a) of the Exchange Act Against Defendants Sheppard, Peters
                                and the Monomoy Defendants

       199.    Plaintiffs repeat and reallege each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

       200.    Defendants Sheppard, Peters, and the Monomoy Defendants, including Collin and

Presser, acted as controlling persons of EveryWare within the meaning of Section 20(a) of the

Exchange Act as alleged herein. By virtue of their high-level positions, and ownership and

contractual rights, participation in and/or awareness of the Company’s operations and/or intimate

knowledge of the false statements filed by the Company with the SEC and disseminated to the

investing public, these Defendants had the power to influence and control and did influence and

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control, directly or indirectly, the decision making of the Company, including the content and

dissemination of the various statements which Plaintiffs contend are false and misleading.

Defendants Sheppard, Peters, and the Monomoy Defendants, including Collin and Presser, were

provided with or had unlimited access to copies of the Company’s reports, press releases, public

filings and other statements alleged by Plaintiffs to be misleading prior to and/or shortly after

these statements were issued, and had the ability to prevent the issuance of the statements or

cause the statements to be corrected.

        201.   The Monomoy Defendants, including Collin and Presser, controlled the

statements and omissions made by Defendants Sheppard and Peters, as well as by EveryWare, by

virtue of their majority ownership of EveryWare common stock, positions of authority within the

Company (including directorships), and/or based upon other reasons as alleged herein.

        202.   Defendants Sheppard and Peters controlled the statements and omissions made by

EveryWare, by virtue of their executive positions and duties at the Company.

        203.   In particular, Sheppard, Peters, and the Monomoy Defendants, including Collin

and Presser, had direct and supervisory involvement in the day-to-day operations of the

Company and, therefore, are presumed to have had the power to control or influence the

particular transactions giving rise to the securities violations as alleged herein, and exercised the

same.

        204.   As set forth above, EveryWare and Sheppard, Peters, and the Monomoy

Defendants, including Collin and Presser, violated Section 10(b) and Rule 10b-5 by their acts

and/or material omissions as alleged in this Complaint. By virtue of their positions as controlling

persons, Sheppard, Peters, and the Monomoy Defendants, including Collin and Presser, are also

liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate result of these



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Defendants’ wrongful conduct, Plaintiffs and other members of the Class suffered damages in

connection with their purchases of the Company’s securities during the Class Period.

                                            COUNT III

 Violation of Section 11 of the Securities Act of 1933 Against Defendants Sheppard, Peters,
 Collin, Presser, Baldwin, Jurbala, Kasoff, McCray, Krueger, De Perio, Wainshal, and the
                                   Underwriter Defendants

        205.    Plaintiffs repeat and reallege each and every allegation contained above as if fully

set forth herein.

        206.    This Claim is brought pursuant to §11 of the Securities Act, 15 U.S.C. §77k, on

behalf of the Class, against each of Defendants Sheppard, Peters, Collin, Presser, Baldwin,

Jurbala, Kasoff, McCray, Krueger, De Perio, and Wainshal, and the Underwriter Defendants.

        207.    The Registration Statement was inaccurate and misleading, contained untrue

statements of material facts, omitted facts necessary to make the statements made therein not

misleading, and omitted to state material facts required to be stated therein.

        208.    Defendants Sheppard, Peters, Collin, Presser, Baldwin, Jurbala, Kasoff, McCray,

Krueger, De Perio, and Wainshal each signed the Registration Statement. As such, each is

strictly liable for the materially inaccurate statements contained in the Registration Statement and

the failure of the Registration Statement to be complete and accurate. These Defendants each

had a duty to make a reasonable and diligent investigation of the truthfulness and accuracy of the

statements contained in the Registration Statement, and to ensure that they were true and

accurate, that there were no omissions of material facts that would make the Registration

Statement misleading, and that the document contained all facts required to be stated therein. In

the exercise of reasonable care, Defendants Sheppard, Peters, Collin, Presser, Baldwin, Jurbala,

Kasoff, McCray, Krueger, De Perio, and Wainshal should have known of the material



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misstatements and omissions contained in the Registration Statement and also should have

known of the omissions of material fact necessary to make the statements made therein not

misleading. Accordingly, these Defendants are liable to Plaintiffs and the Class.

       209.    The Underwriter Defendants each served as underwriters in connection with the

Secondary Offering. As such, each is strictly liable for the materially inaccurate statements

contained in the Registration Statement and the failure of the Registration Statement to be

complete and accurate. These Defendants each had a duty to make a reasonable and diligent

investigation of the truthfulness and accuracy of the statements contained in the Registration

Statement. They had a duty to ensure that they were true and accurate, that there were no

omissions of material facts that would make the Registration Statement misleading, and that the

documents contained all facts required to be stated therein. In the exercise of reasonable care,

the Underwriter Defendants should have known of the material misstatements and omissions

contained in the Registration Statement and also should have known of the omissions of material

facts necessary to make the statements made therein not misleading. Accordingly, each of the

Underwriter Defendants is liable to Plaintiffs and the Class.

       210.    By reasons of the conduct herein alleged, each of Defendants Sheppard, Peters,

Collin, Presser, Baldwin, Jurbala, Kasoff, McCray, Krueger, De Perio, and Wainshal, and the

Underwriter Defendants violated §11 of the Securities Act.

       211.    Plaintiffs acquired the Company’s common stock pursuant or traceable to the

Secondary Offering, and without knowledge of the untruths and/or material misleading

omissions in the Registration Statement. Plaintiffs and the Class sustained losses as a result of

their purchases of the Company’s shares in or traceable to the Secondary Offering.




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        212.    By virtue of the foregoing, Plaintiffs and the other members of the Class are

entitled to damages under §11 as measured by the provisions of §11(e), from Defendants

Sheppard, Peters, Collin, Presser, Baldwin, Jurbala, Kasoff, McCray, Krueger, De Perio, and

Wainshal, and the Underwriter Defendants, and each of them, jointly and severally.

        213.    With respect to the Underwriter Defendants, as well as Defendants Baldwin,

Jurbala, Kasoff, McCray, Krueger, De Perio, and Wainshal, Plaintiffs allege only negligence and

strict liability, and disavow any allegations rooted in fraud.

                                            COUNT IV

 Violation of Section 12 of the Securities Act of 1933 Against Defendants Sheppard, Peters,
 Collin, Presser, Baldwin, Jurbala, Kasoff, McCray, Krueger, De Perio, Wainshal, and the
                                   Underwriter Defendants

        214.    Plaintiffs repeat and reallege each and every allegation contained above as if fully

set forth herein.

        215.    This claim is brought pursuant to §12(a)(2) of the Securities Act, 15 U.S.C.

§77l(a)(2), on behalf of the Class, against Defendants Sheppard, Peters, Collin, Presser, Baldwin,

Jurbala, Kasoff, McCray, Krueger, De Perio, Wainshal, and the Underwriter Defendants.

        216.    These Defendants were sellers, offerors, and/or solicitors of purchasers of the

Company’s securities offered pursuant to the Secondary Offering. Defendants Sheppard, Peters,

Collin, Presser, Baldwin, Jurbala, Kasoff, McCray, Krueger, De Perio, Wainshal, and the

Underwriter Defendants issued, caused to be issued, and signed the Registration Statement in

connection with the Offering. The Registration Statement was used to induce investors, such as

Plaintiffs and the other members of the Class, to purchase the Company’s shares.

        217.    The Registration Statement contained untrue statements of material facts, omitted

to state other facts necessary to make the statements made not misleading, and omitted material



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facts required to be stated therein. These Defendants’ acts of solicitation included participating

in the preparation of the false and misleading Registration Statement.

        218.    Plaintiffs and the other Class members did not know, nor could they have known,

of the untruths or omissions contained in the Registration Statement.

        219.    Defendants Sheppard, Peters, Collin, Presser, Baldwin, Jurbala, Kasoff, McCray,

Krueger, De Perio, Wainshal, and the Underwriter Defendants were obligated to make a

reasonable and diligent investigation of the statements contained in the Registration Statement to

ensure that such statements were true and that there was no omission of material fact required to

be stated in order to make the statements contained therein not misleading. None of these

Defendants made a reasonable investigation or possessed reasonable grounds for the belief that

the statements contained in the Registration Statement were accurate and complete in all material

respects. Had they done so, these Defendants could have known of the material misstatements

and omissions alleged herein.

        220.    This claim was brought within one year after discovery of the untrue statements

and omissions in the Registration Statement and within three years after the Company’s shares

were sold to the Class in connection with the Secondary Offering.

        221.    With respect to the Underwriter Defendants, as well as Defendants Baldwin,

Jurbala, Kasoff, McCray, Krueger, De Perio, and Wainshal, Plaintiffs allege only negligence and

strict liability, and disavow any allegations rooted in fraud.

                                             COUNT V

 Violation of Section 15 of the Securities Act of 1933 Against Defendants Sheppard, Peters,
                                and the Monomoy Defendants

        222.    Plaintiffs repeat and reallege each and every allegation contained above as if fully

set forth herein.

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       223.    This claim is brought pursuant to §15 of the Securities Act, 15 U.S.C. §77o, on

behalf of the Class, against Defendants Sheppard, Peters, and the Monomoy Defendants,

including Collin and Presser.

       224.    Defendants Sheppard, Peters, and the Monomoy Defendants, including Collin and

Presser, were controlling persons of the Company within the meaning of §15 of the Securities

Act. The Monomoy Defendants, including Collin and Presser, were controlling persons for

Peters and Sheppard. By reason of their ownership interest in, senior management positions at,

and/or directorships held at the Company, as alleged above, these Defendants, individually and

collectively, had the power to influence, and exercised the same, over the Company to cause it to

engage in the conduct complained of herein. By reason of such conduct, Defendants Sheppard,

Peters, and the Monomoy Defendants, including Collin and Presser, are liable pursuant to §15 of

the Securities Act.

       225.    By reason of such wrongful conduct, Defendants Sheppard, Peters, and the

Monomoy Defendants, including Collin and Presser, are liable pursuant to §15 of the Securities

Act. As a direct and proximate result of the wrongful conduct, Class members suffered damages

in connection with their purchases of the Company’s shares.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray for relief and judgment, as follows:

       A.      Determining that this action is a proper class action under Rule 23 of the Federal

Rules of Civil Procedure with Plaintiffs serving as class representatives;

       B.      Awarding compensatory damages in favor of Plaintiffs and the other Class

members against all Defendants, jointly and severally, for all damages sustained as a result of

Defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;



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       C.      Awarding Plaintiffs and the Class their reasonable costs and expenses incurred in

this action, including counsel fees and expert fees; and

       D.      Such other and further relief as the Court may deem just and proper.

                                  JURY TRIAL DEMANDED

       Plaintiffs hereby demand a trial by jury.

Dated: May 15, 2015                           Respectfully Submitted,


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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 15, 2015, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system, which will send notification of such filing to the to the e-

mail addresses denoted on the Electronic Mail Notice List, and I hereby certify that I have

mailed by United States Postal Service the document to the non CM/ECF participants indicated

on the Manual Notice List and as follows:

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